              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 1 of 83




                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JAI SAI BABA LLC, LAXMIKRUPA                      CIVIL ACTION
CORPORATION, KRISHNA HOSPITALITY
CORPORATION, VEER HOTELS INC.,
DEERFIELD HOTEL TWO LLC, AUM
INVESTMENTS LLC, SHUBHAM LLC,
NEWLIGHT INC., JESSUP QI LLC, CATON               JURY TRIAL DEMANDED
HOSPITALITY LLC, ELKRIDGE HOSPITALITY
LLC, JAI SWAMINARAYAN CHESTERTOWN
LLC, MAHAMATI INC, ALBEMARLE
HOSPITALITY LLC, HELI HOSPITALITY, LLC,
OUTERBANK HOTEL LLC, A&A HOSPITALITY
INC., PREMIER HOSPITALITY LLC,
HAVELOCK HOSPITALITY, LLC, HIGHMARK
LODGING LLC, ELITE HOSPITALITY LLC,
SUNBURST HOTELS, LLC, AHKH LLC,
MYGHM COOKSTOWN LLC, JSK
MIDDLETOWN LLC, WEST WINDSOR
LODGING, LLC, JAI SWAMINARAYAN
GLOUCESTER LLC, DIP HOSPITALITY LLC,
HARTWICK HOTEL COMPANY LLC,
SYRACUSE HOTEL PARTNERS LLC, AKASH
HOTELS LLC, AGK REAL ESTATE HOLDING
LLC, READING HOTELS LLC, SHREE JAY
BHOLE INC, JSK POTTSTOWN LLC, SAI RAM
HOTELIERS LLC, GETTYSBURG HOTELS LLC,
JSK NEW HOPE LLC, RRR HOTEL LLC, AVIS
HOSPITALITY Inc., ANNPURNA SC LLC, OM
COMPANY, SAVAN LLC, 9M9 HOSPITALITY
INC., JAI MAA UNIVERSAL, LLC, and VAB 435
OCEANFRONT LLC,


                             PLAINTIFFS,

        V.

CHOICE HOTELS INTERNATIONAL, INC. and
CHOICE HOTELS OWNERS COUNCIL,

                             DEFENDANTS.




24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 2 of 83




                                         INTRODUCTION

          1.     Choice Hotel International, Inc.’s (“Choice”) has and continues to engage in

 unconscionable, fraudulent, unlawful, and anticompetitive business practices in connection with

 the operation of its hotel franchise system.

          2.     This action seeks an accounting along with monetary, declaratory and injunctive

 relief for violations of the Racketeer Influenced and Corrupt Practices Act (“RICO”), 18 U.S.C.

 § 1962(c); the Sherman Act, 15 U.S.C. § 1; the Civil Rights Act, 42 U.S.C. § 1981; various state

 franchise acts; common law fraud; and breach of contract, including the implied covenant of

 good faith and fair dealing.

          3.     Choice is a hotel franchisor that owns several well-known national hotel brands,

 including Comfort Inn, Comfort Suites, Quality Inn, Sleep Inn, Clarion, Cambria Suites,

 MainStay Suites, Suburban Extended Stay Hotels, EconoLodge, Rodeway Inn, and Ascend

 Hotel Collection.

          4.     Globally, there are over seven-thousand hotels operating under Choice brand

 marks.

          5.     Plaintiffs (“Franchisees”) each own and operate one or more hotels that bear a

 Choice brand mark.

          6.     The vast majority of the Franchisees are single member limited liability

 companies or closely held corporations operated by hoteliers (the “Choice Hoteliers”) who are

 either immigrants or second-generation Americans, with an origin in India and other parts of

 South Asia.

          7.     The hotel franchise industry is particularly attractive to industrious New

 Americans like the Choice Hoteliers, because it gives them the opportunity to invest in a



                                                  -2-
24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 3 of 83




 physically tangible, traditional old-economy business that they hope, through their own hard

 work and dedication, can serve as a legacy for their children.

          8.     The vast majority of all Choice franchises are owned by Indian-American or

 South Asian-American hoteliers.

          9.     This is an action to put an end to Choice’s abusive, fraudulent and unconscionable

 practices, which are designed with one purpose in mind—namely, to line the pockets of its

 shareholders at the expense of the rights of its franchisees, including the Franchisees.

          10.    A centerpiece of Choice’s unlawful scheme is its mandate that Franchisees

 exclusively use vendors of Choice’s choosing for the purchase of goods and services necessary

 to the running of a hotel.

          11.    Choice represents to its Franchisees that it selects vendors with the goal of using

 the franchisees’ collective bargaining power to secure a group discount, and to ensure adequate

 quality and supply of products and services.

          12.    In fact, Choice’s primary goal in negotiating with vendors is securing the largest

 possible kickback for itself, which vendors finance through charging Franchisees above-market

 rates.

          13.    In 2019 alone, Choice netted more than $60 million from this fraudulent kickback

 scheme.

          14.    Additionally, Choice engages in other oppressive, bad-faith, fraudulent, and

 unconscionable conduct.

          15.    Choice routinely requires Franchisees to pay multiple fees for the same product or

 service.




                                                  -3-
24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 4 of 83




         16.     Choice routinely assesses additional fees against Franchisees for services and

 products that Choice either (a) does not in fact provide, or (b) provides at an inferior quality.

         17.     Choice arbitrarily imposes rules and regulations and/or unreasonably interprets

 rules and regulations in order to justify assessing monetary penalties against Franchisees.

         18.     Choice routinely discriminates against Indian-American and South Asian-

 American hoteliers by showing preferential treatment towards white hoteliers, particularly in the

 granting of key money to finance new construction.

         19.     Choice corrupts the Choice Hotels Owners’ Council (“CHOC”), an association of

 franchisees, by providing various benefits to members of its board in order to secure their

 support of Choice’s oppressive agenda.

         20.     Choice attempts to obstruct Franchisees from leaving the franchise system by

 imposing onerous liquidated damages provisions and assessing excessive penalties against

 departing franchises.

         21.     Choice’s actions are unconscionable and outrageous, and have pushed

 Franchisees to the financial breaking point.




                                                 -4-
24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 5 of 83




                                  JURISDICTION AND VENUE

         22.     This Court has subject matter jurisdiction over the federal law claims raised in

 this action pursuant to 18 U.S.C. § 1964.

         23.     This Court has subject matter jurisdiction over the state law claims raised in this

 action 28 U.S.C. § 1367, because they arise from the same set of operative facts as the federal

 law claims.

         24.     This Court has personal jurisdiction over Choice with regards to Plaintiffs’ RICO

 claims pursuant to 18 U.S.C. § 1965(a), because Choice regularly transacts business within the

 geographic boundaries of this District by, inter alia, entering into franchising agreements with

 franchisees.

         25.     This Court also has personal jurisdiction over Choice with regards to Plaintiffs’

 RICO claims pursuant to 18 U.S.C. § 1965(b), because the ends of justice require that CHOC be

 summoned to this district.

         26.     This Court has pendant claim personal jurisdiction over Choice with regards to

 Plaintiffs’ remaining causes of actions.

         27.     This Court has personal jurisdiction over CHOC with regards to Plaintiffs’ RICO

 claims pursuant to 18 U.S.C. § 1965(a), because CHOC regularly transacts business within the

 geographic boundaries of this District by, inter alia, collecting membership fees from

 franchisees.

         28.     This Court also has personal jurisdiction over CHOC with regards to Plaintiffs’

 RICO claims pursuant to 18 U.S.C. § 1965(b), because the ends of justice require that CHOC be

 summoned to this district.




                                                  -5-
24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 6 of 83




         29.     Because of the RICO’s statute’s grant of personal jurisdiction over CHOC, this

 Court also has pendant claim personal jurisdiction over CHOC with regards to Plaintiffs’

 remaining causes of actions.

         30.     Venue is proper in this judicial district pursuant to 18 U.S.C. §§ 1965(a), 1965(b),

 because Defendant Choice regularly transacts business within the geographic boundaries of this

 District by, inter alia, entering into franchising agreements with franchisors, because Defendant

 CHOC regularly transacts business within the geographic boundaries of this District by, inter

 alia¸ collecting membership fees from franchisees, and, in the alternative, because the ends of

 justice require CHOC to be summoned to this District.

                                              PARTIES

         31.     Plaintiff Jai Sai Baba LLC is an Arizona registered limited liability company with

 its principle place of business located at 6347 E. Southern Ave., Mesa, Az 85206. Jai Sai Baba

 LLC operates a Choice franchise hotel—specifically a Sleep Inn—located in Arizona.

         32.     Plaintiff Laxmikrupa Corporation is a California registered corporation with its

 principal place of business at 753 Glendora Avenue, La Puente, CA 91744. Laxmikrupa

 Corporation operates a Choice franchise hotel—specifically a Comfort Suites—located in

 California.

         33.     Plaintiff Krishna Hospitality Corporation is a Delaware registered corporation

 with its principal place of business in 23420 Sussex Highway. It operates a Choice franchise

 hotel—specifically a Comfort Suites—located in Delaware.

         34.     Plaintiff Veer Hotels, Inc. is a Delaware registered corporation with a principal

 place of business at 1259 Corn Crib Road, Harrington, DE. Veer Hotels, Inc. operates a Choice

 franchise hotel—specifically a Quality Inn and Suites—located in Delaware.



                                                  -6-
24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 7 of 83




         35.     Plaintiff Deerfield Hotel Two, LLC is a Florida registered limited liability

 company with its principal place of business at 1040 E. Newport Center Dr., Deerfield Beach,

 Florida 33442. Deerfield Hotel Two, LLC operates a Choice franchise hotel—specifically a

 Quality Suites—located in Florida.

         36.     Plaintiff AUM Investments LLC is a Louisiana registered limited liability

 company with its principal place of business at 37090 Market Center Blvd., Geismar, La 70734

 operates two Choice franchise hotels—specifically a Sleep Inn and Mainstay Suites—located in

 Louisiana.

         37.     Plaintiff Shubham LLC is a Massachusetts registered limited liability company

 with its principal place of business at 1150 Riverdale Street., West Springfield, MA 01089.

 Shubham LLC operates a Choice franchise hotel—specifically a Sleep Inn and Mainstay

 Suites—located in Massachusetts.

         38.     Plaintiff Newlight Inc. is a Massachusetts registered corporation with its principal

 place of business at 2 Southampton Road, Westfield, MA 01085. Newlight Inc. operates a

 Choice franchise hotel—specifically a Quality Inn—located in Massachusetts.

         39.     Plaintiff Jessup QI LLC is a Maryland registered limited liability company with

 its principal place of business located at 8828, Washington Blvd, Jessup, MD 20794. Jessup QI

 LLC operates a Choice franchise hotel—specifically a Quality Inn—located in Maryland.

         40.     Plaintiff Caton Hospitality LLC is a Maryland registered limited liability

 company with its principal place of business located at 1401 Bloomfield Avenue, Baltimore,

 MD 21227. Caton Hospitality LLC operates a Choice franchise hotel—specifically a Rodeway

 Inn—located in Maryland.




                                                  -7-
24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 8 of 83




         41.     Plaintiff Elkridge Hospitality LLC is a Maryland registered limited liability

 company with its principal place of business at 5895 Bonnie View Lane, Elkridge, MD 21075.

 Elkridge Hospitality LLC operates a Choice franchise hotel—specifically an Econolodge—

 located in Maryland.

         42.     Plaintiff Jai Swaminarayan Chestertown LLC is a Maryland registered limited

 liability company with its principal place of business at 5895 Bonnie View Lane, Elkridge, MD

 21075. Jai Swaminarayan Chestertown LLC operates a Choice franchise hotel—specifically an

 Econolodge—located in Maryland.

         43.     Collectively, the Plaintiffs operating Maryland franchises are referred to as the

 “Maryland Franchisees.”

         44.     Plaintiff Mahamati Inc. is a Michigan registered corporation with its principal

 place of business at 2896 Queen Annes Ct., Bay City, MI 48706. Mahamati Inc. operates a

 Choice franchise hotel—specifically an Econolodge—located in Michigan.

         45.     Plaintiff DC Hotels LLC is a Minnesota registered limited liability company with

 its principal place of business at 810 Happy Trails Ln., Albert Lea, MN 56007. DC Hotels LLC

 operates a Choice franchise hotel—specifically a Comfort Inn—located in Minnesota.

         46.     Plaintiff Albemarle Hospitality LLC is a North Carolina registered limited

 liability company with its principal place of business located at 306 S. Hughes Blvd., Elizabeth

 City, NC 27909. Albermarle Hospitality LLC operates two Choice franchises hotel—

 specifically, Comfort Inn and Qualiy—located in North Carolina.

         47.     Plaintiff Heli Hospitality LLC is a North Carolina registered limited liability

 company with its principal place of business located at 309 Brandywine Dr., Raleigh, NC




                                                  -8-
24774197v.1
              Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 9 of 83




 27607. Heli Hospitality, LLC operates a Choice franchise hotel—specifically a Quality Inn—

 located in North Carolina.

         48.     Plaintiff Havelock Hospitality LLC is a North Carolina registered limited liability

 company with its principal place of business at 1013 E Main St., Havelock, NC 2853. Havelock

 Hospitality LLC operates a Choice franchise hotel—specifically, a Quality Inn—located in

 North Carolina.

         49.     Plaintiff AHKH LLC is a limited liability with its principal place of business at

 4716 New Bern Avenue, Raleigh NC 27610. AHKH LLC operates a Choice franchise hotel—

 specifically, a Quality inn—located in North Carolina.

         50.     Plaintiff Outerbanks Hotel LLC is a North Carolina registered limited liability

 corporation with its principal place of business at 401 N. Virginia Dare Trail, Kill devil Hills,

 NC 27948. Outerbanks Hotel LLC operates a Choice franchise hotel—specifically, a Quality

 Inn—located in North Carolina.

         51.     Plaintiff A&A Hospitality Inc. is a North Carolina corporation with its principal

 place of business at 2539 South Saunders St., Raleigh, NC 27603. A&A Hospitality Inc.

 operates a Choice franchise hotel —specifically, a Quality Inn—located in North Carolina.

         52.     Plaintiff Premier Hospitality, LLC is a North Carolina limited liability company

 with its principal place of business at 1011 East Cumberland St., Dunn, NC 28334. A&A

 Hospitality Inc operates a Choice franchise hotel —specifically, a Quality Inn—located in

 North Carolina.

         53.     Plaintiff Highmark Lodging LLC is a North Dakota registered limited liability

 company with its principal place of business at 475 15th St. W, Dickinson, ND 58601.




                                                 -9-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 10 of 83




 Highmark Lodging LLC operates a Choice franchise hotel —specifically, a Quality Inn &

 Suites—located in North Dakota.

         54.   Plaintiff MYGHM Cookstown LLC is a New Jersey registered limited liability

 company with its principal place of business at 21 Wrightstown Cookstown Road, Cookstown,

 NJ 08511. MYGHM Cookstown LLC operates a Choice franchise hotel —specifically, a

 Quality Inn—located in New Jersey.

         55.   Plaintiff JSK Middletown LLC is a New Jersey registered limited liability

 company with its principal place of business at 750 Rt. 35 South, Middletown, NJ 07748. JSK

 Middletown LLC operates a Choice franchise hotel —specifically, a Quality Inn—located in

 New Jersey.

         56.   Plaintiff West Windsor Lodging, LLC is a New Jersey registered limited liability

 company with its principal place of business at 3499 Route One South, Princeton, NJ 3499

 08540. West Windsor lodging, LLC operates a Choice franchise hotel —specifically, a

 Clarion—located in New Jersey.

         57.   Plaintiff Jai Swaminarayan Gloucester LLC is a New Jersey registered limited

 liability company with its principal place of business located in New Jersey. Jai Swaminarayan

 Gloucester LLC operates a Choice franchise hotel—specifically, a Rodeway Inn—located in

 New Jersey.

         58.   Collectively, the Plaintiffs that operate hotels in New Jersey are known as the

 “New Jersey Franchisees.”

         59.   Plaintiff Syracuse Hotel Partners LLC is a New York registered limited liability

 company with its principal place of business located at 6611 Old Collamer Rd S, Syracuse NY




                                               -10-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 11 of 83




 13057. Syracuse Hotel Partners LLC operates a Choice franchise hotel—specifically, a Quality

 Inn—located in New York.

         60.   Plaintiff Akash Hotels LLC is a New York registered limited liability company

 with its principal place of business located at 310 Wild Ave., Staten Island, NY 10314. Akash

 Hotels LLC operates a Choice franchise hotel—specifically, a Comfort Inn—located in New

 York.

         61.   Plaintiff Dip Hospitality LLC is a New York registered limited liability company

 with its principal place of business located at 901 Dick Road, Buffalo, NY 14225. Dip

 Hospitality LLC operates a Choice franchise hotel—specifically, a Comfort Suites—located in

 New York.

         62.   Plaintiff Hartwick Hotel Company LLC is a New York registered limited liability

 company with its principal place of business located at 4470 State Hwy 28, Milford NY 13807.

 Hartwick Hotel Company LLC operates a Choice franchise hotel—specifically, a Comfort Inn

 & Suites—located in New York.

         63.   Plaintiff AGK Real Estate Holding LLC is a New York registered limited liability

 company with its principal place of business located at 266 Corning Road, Horseheads, NY

 14845. AGK Real Estate Holding LLC operates a Choice franchise hotel —specifically, a

 Quality Inn—located in New York.

         64.   Collectively, the Plaintiffs that operate hotels in New York are known as the

 “New York Franchisees.”

         65.   Plaintiff Sunburst Hotels LLC is an Ohio registered limited liability company

 with its principal place of business in Ohio, and a mailing address of P.O. Box 773, New




                                              -11-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 12 of 83




 Albany, OH 43054. Sunburst Hotels LLC operates a Choice franchise hotel —specifically, a

 Quality Inn—located in Ohio.

         66.     Plaintiff Elite Hospitality LLC is an Ohio registered limited liability company

 with its principal place of business in Ohio, and a mailing address of P.O. Box 773, New

 Albany, OH 43054. Elite Hospitality LLC operates a Choice franchise hotel —specifically, a

 Quality Inn—located in Ohio.

         67.     Plaintiff Shree Jay Bhole Inc. is a Pennsylvania registered limited liability

 company with its principal place of business located at 222 Arsenal Road, York, PA 17402.

 Shree Jay Bhole Inc. operates a Choice franchise hotel—specifically, an Econolodge—located

 in Pennsylvania.

         68.     Plaintiff Reading Hotels LLC is a Pennsylvania registered limited liability

 company with its principal place of business at 2200 Stacey Drive, Reading, PA 19605.

 Reading Hotels LLC operates a Choice franchise hotel—specifically, a Comfort Inn—located in

 Pennsylvania.

         69.     Plaintiff JSK Pottstown LLC is a Pennsylvania registered limited liability

 company with its principal place of business at 61 West King St., Pottstown, PA 19464. KSK

 Pottstown LLC operates a Choice franchise hotel—specifically, a Quality Inn—located in

 Pennsylvania.

         70.     Plaintiff Sai Ram Hoteliers LLC is a Pennsylvania registered limited liability

 company with its principal place of business located at 1896 Rich Hwy, Du Bois, PA 15801. Sai

 Ram Hoteliers LLC operates a Choice franchise hotel—specifically, a Clarion Inn—located in

 Pennsylvania.




                                                 -12-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 13 of 83




         71.   Plaintiff Gettysburg Hotels LLC is a Pennsylvania registered limited liability

 company with its principal place of business located at 945 Baltimore Pike, Gettysburg, PA

 17325. Gettysburg Hotels LLC operates a Choice franchise hotel—specifically, a Comfort

 Suites—located in Pennsylvania.

         72.   Plaintiff JSK New Hope LLC is a Pennsylvania registered limited liability

 company with its principal place of business located at 6426 Lower York Road, New Hope, PA

 18938. JSK New Hope LLC operates a Choice franchise hotel—specifically, a Clarion Inn—

 located in Pennsylvania.

         73.   Plaintiff RRR Hotel LLC is a Pennsylvania registered limited liability company

 with its principal place of business located at 815 N Pottstown Pike, Exton, PA 19341. RRR

 Hotel LLC operates two Choice franchise hotels—specifically, a Clarion Hotel and a Quality

 Inn—located in Pennsylvania.

         74.   Plaintiff AVIS Hospitality Inc. is a South Carolina registered corporation with its

 principal place of business at 3755 Grandview Drive, Simpsonsville SC 29680. AVIS

 Hospitality Inc operates a Choice franchise hotel—specifically, a Quality Inn—located in South

 Carolina.

         75.   Plaintiff Annpurna SC LLC is a South Carolina registered limited liability

 company with its principal place of business at 611 West Wade Hampton Blvd. Annapurna SC

 LLC operates a Choice franchise hotel—specifically, a Quality Inn—located in South Carolina.

         76.   Plaintiff Om Company is a Tennessee registered corporation with its principal

 place of business located at 2655 Westside Drive NW, Cleveland, TN, 37312. Om Company

 operates a Choice franchise hotel—specifically, an Econolodge—located in Tennessee.




                                               -13-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 14 of 83




         77.   Plaintiff Savan LLC is a Tennessee registered corporation with its principal place

 of business located at 107 Interstate Dr NW 37421, Cleveland TN. Savan LLC operates a

 Choice franchise hotel—specifically, a Comfort Inn & Suites—located in Tennessee.

         78.   Plaintiff 9M9 Hospitality Inc. is a Texas registered corporation with its principal

 place of business at 1615 NE Big Bend Trail, Glen Rose, TX 76043. It operates a Choice

 franchise hotel —specifically, a Comfort Inn & Suites—located in Texas.

         79.   Plaintiff Jai Maa Universal, LLC is a Texas registered limited liability company

 with its principal place of business at 222 W. Airtex Blvd, Houston, TX 77090. Jai Maa

 Universal, LLC operates a Choice franchise hotel —specifically, a Sleep Inn and Suites—

 located in Texas.

         80.   Plaintiff VAB 435 Oceanfront LLC is a Virginia registered limited liability

 company with its principal place of business located at 705 Atlantic Avenue, Virginia Beach,

 Virginia. VAB 435 Oceanfront LLC operates a Choice franchise hotel—specifically, a Quality

 Inn & Suites—located in Virginia.

         81.   Certain Franchisees, namely Elite Hospitality LLC and Sunburst Hotels, LLC,

 contracted with Choice to participate in optional regional marketing cooperatives. These

 Franchisees are collectively referred to herein as “Marketing Cooperative Franchisees.”

         82.   Defendant Choice is a Maryland-registered corporation with its principal place of

 business located at 1 Choice Hotels Cir Suite 400, Rockville, MD 20850.

         83.   Defendant Choice Hotels Owners Council is, on information and belief, a North

 Carolina-registered corporation with a principal place of business at 4200 Morganton Road,

 Suite 200-13, Fayetteville, NC 28314. It purports to be in the business of representing the

 interests of Choice franchisees.



                                               -14-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 15 of 83




                                COMMON FACTUAL ALLEGATIONS

               A.        The Uneven Relationship between Choice and its Franchisees

         84.        Choice has been in operation since 1939.

         85.        Throughout its history, Choice has created and acquired hotel brands, including

 Comfort Inn, Comfort Suites, Quality Inn, Sleep Inn, Clarion, Cambria Suites, MainStay Suites,

 Suburban Extended Stay Hotels, EconoLodge, Rodeway Inn, and Ascend Hotel Collection.

         86.        Choice licenses the right to use these hotel brand marks to franchisees, including

 the Franchisees, by entering into Franchise Agreements with them.

         87.        As is the case for all business owners, Franchisees assume certain risks when

 operating their franchises.

         88.        In the event of business failure or slowdown—a fact of life that the current

 pandemic has made all too familiar to hoteliers—Franchisees will be unable to, inter alia, make

 payroll, make rent, pay utilities, pay insurance premiums, and pay property taxes. That is, if

 Franchisees’ businesses fail, they will not merely lose the opportunity to make profits; they will

 remain responsible for the financial burdens associated with owning a non-performing,

 depreciating asset.

         89.        Choice, on the other hand, bears relatively little risk in the event that a particular

 Franchisee’s business fails.

         90.        Choice, whose only significant assets are its intellectual property (the hotel brand

 marks) and the franchise system itself, does not assume legal responsibility for any debt or non-

 performing, depreciating assets in the event that that a particular Franchisee’s business fails.

         91.        Indeed, Choice does not even bear the risk of nonpayment of royalties and other

 monthly fees in the event of a Franchisee’s business failure or slowdown.



                                                     -15-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 16 of 83




         92.      Despite—or perhaps partially due to—the fact that Franchisees inherently assume

 considerably more risk than Choice in the operation of each hotel franchise, Choice uses its

 superior bargaining power to coerce the Franchisees into accepting onerous, unequal, and

 unconscionable terms in its Franchise Agreements.

         93.      These onerous terms put immense financial stress on Franchisees, threatening

 their economic viability.

         94.      In entering into the Agreements, Choice’s bargaining power is vastly superior to

 the Franchisees.

         95.      Choice exploits this disparity in bargaining power to require Franchisees to enter

 into one-sided contracts of adhesion.

         96.      These one-sided Agreements are lengthy, complex, confusing, and, for all intents

 and purposes, non-negotiable.

         97.      Choice also uses and abuses its superior bargaining power by, among other things,

 requiring Franchisees to sign a tripartite comfort letter with third-party lenders.

         98.      These agreements are not standard in the franchising industry.

         99.      Under the terms of the comfort letter, in the event of business failure or

 slowdown, the third-party lender compensates Choice for the loss of revenue, while the

 Franchisee remains responsible for indemnifying the third-party lender.

         100. Choice charges (and the Franchisees actually pay) a $1,500 fee for the privilege of

 entering in agreement that only benefits Choice, underlying the uneven and exploitative

 relationship between the parties.

              B. Choice’s Fraudulent and Unconscionable Kickback and Price-Fixing Scheme

         101. Choice’s fraudulent and unconscionable scheme cannot operate without

 Franchisees paying excessive, above-market rates for the goods and services necessary to run a

                                                  -16-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 17 of 83




 hotel, including but not limited to, credit card processing services, financial software, furniture,

 furnishing, linens, food products, utensils, and goods for guests’ consumption (the “Necessary

 Products”).

         102. The above-market rate pricing provides the money necessary for vendors to pay

 Choice’s kickback.

         103. Choice knowingly and willfully engages in conduct that ensures Franchisees pay

 above-market prices for the Necessary Products.

         104. Choice engages in this knowing and willful conduct despite making express

 representations to Franchisees, shareholders and the public that it will obtain volume discounts

 from vendors for the Necessary Products.

        i. Choice’s Fraudulent and Inconsistent Representations Regarding the Nature of its
           Relationship with Qualified Vendors

         105. Under the Agreement, Choice requires that Franchisees purchase some or all of

 the Necessary Products from vendors of its own choosing (the “Qualified Vendors”).

         106. In the Agreement, Choice represents to Franchisees that it will limit the number of

 Qualified Vendors for a given product only for the purposes of obtaining a group or volume

 discount and ensuring uniform quality and supply of that Necessary Product.

         107. In fact, Choice made an internal decision in or around 2012 to further limit the

 number of Qualified Vendors.

         108. In an article published on June 19, 2013, Choice’s Vice President of Procurement

 Services, Rick Summa, was quoted as saying that this decision was done to enable Choice “to

 brand programs more effectively and efficiently.” Alan Dorich, Choice Hotels International,

 Supply Chain Best Practices (June 19, 2013), available at

 https://www.bestsupplychainpractices.com/2013/06/choice-hotels-international/.


                                                -17-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 18 of 83




         109. Upon information and belief, Mr. Summa’s stated justification for the change was

 and is false.

         110. Upon information and belief, the change also had nothing to do with obtaining

 greater discounts or improving brand quality.

         111. Upon information and belief, Choice limits the number of Qualified Vendors as

 part of a scheme to reduce competition within the Choice Franchise System, which in turn,

 allowed Choice to extract larger kickbacks from vendors. And the scheme works.

         112. Following that change, Choice’s revenues from vendor kickbacks skyrocketed.

         113. Choice does not disclose to Franchisees when it receives a kickback (or “rebate”

 as Choice refers to it), or the amount of any such “rebate”.

         114. The intended purpose and effect of Choice’s kickback scheme is that Qualified

 Vendors charge above-market rates for their goods and services. Choice nevertheless represents

 that its Procurement Services Department actually helps Franchisees:

                      “Helping Choice franchisees achieve total success is the driving force

                       behind the Procurement Services Department. Our mission is to simplify

                       the purchasing process at the hotel level. We ensure that Qualified

                       Vendors supply Choice properties with products and services that meet

                       stringent requirements for quality, reliability, performance and value.

                      “And we don’t stop there…

                      "Acting as a liaison between Choice’s franchisees and Qualified Vendors,

                       we work daily with franchisees to discuss purchasing solutions and vendor

                       programs that will enable owners and general managers to buy appropriate

                       supplies and resources to operate in their hotel in the most cost-effective



                                                 -18-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 19 of 83




                       and efficient way . The staff is knowledgeable on all of the products and

                       services offered by Choice’s Qualified Vendors. We can help you save

                       time and money on all of your purchasing needs.”

         115. These representations are at odds with representations Choice makes to its

 investors in its SEC 10-K form, in which it states:

                      “Procurement services revenues. The Company generates procurement

                       services revenues from qualified vendors. Procurement services revenues

                       are generally based on marketing services provided by the Company on

                       behalf of the qualified vendors to hotel owners and guests. The Company

                       provides these services in exchange for either fixed consideration or a

                       percentage of revenues earned by the qualified vendor pertaining to

                       purchases by the Company’s franchisees or guests. Fixed consideration is

                       allocated and recognized ratably to each period over the term of the

                       agreement. Variable consideration is recognized in the period when sales

                       to franchisees or guests from vendors are known or cash payment has been

                       remitted. Qualified vendor revenues are recognized within Procurement

                       services revenue.”

         116. Essentially, Choice offers two competing and mutually exclusive explanations for

 its acquisition of what it alternatively refers to as “rebates” or “procurement services revenue.”

         117. On one hand, Choice claims to be negotiating on behalf of Franchisees to acquire

 group discounts and to ensure adequate supply and quality of products from Qualified Vendors.

 That is, it claims to be acting as the agent of the Franchisees vis-à-vis their dealings with

 Qualified Vendors.



                                                -19-
24774197v.1
            Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 20 of 83




           118. On the other hand, Choice claims to be providing a marketing service to Qualified

 Vendors with relation to the Franchisees. That is, it claims to be acting as the agent of the

 Qualified Vendors vis-à-vis their dealings with the Franchisees.

           119. Upon information and belief, neither of these representations is true.

           120. Choice’s Procurement Services Department is acting to benefit Choice.

           121. Upon information and belief, Choice either does not provide any marketing

 services to Qualified Vendors, or, if they do, the “rebates” or “procurement services revenues”

 are not paid in exchange for these marketing services.

           122. Choice does not help Franchisees “save time and money” on their “purchasing

 needs.”

           123. Choice does not obtain group or volume discounts on behalf of its Franchisees.

           124. Choice does not ensure adequate brand quality and supply; rather, Choice at times

 forces Franchisees to use inferior Necessary Products, and creates unnecessary transactional

 costs by repeatedly changing, over short periods of time, which Qualified Vendors can supply

 Necessary Products.

           125. This conduct shows that Choice is not attempting to promote brand quality, but is

 constantly auctioning off the right to sell Necessary Products to Franchisees to the highest

 bidder.

           126. Choice is leveraging its Franchise System to secure massive fees from vendors.

        ii. Choice’s Price-Fixing and Kickback Scheme

           127. Choice has turned its Qualified Vendor Program into a pay-to-play system.

           128. Upon information and belief, a company cannot even be considered—much less

 approved—as a potential Qualified Vendor unless they pay a $25,000 “introduction fee”.



                                                 -20-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 21 of 83




         129. To be approved as a Qualified Vendor and gain access to Choice’s restricted

 Franchise Market, Choice requires a quid pro quo in the form of kickbacks.

         130. The kickbacks include both fixed fees paid by Qualified Vendors to Choice, and

 transactional fees based on a percentage of Qualified Vendors’ total sales to Franchisees and

 their guests.

         131. The transactional fees are inextricably tied to the cost of the goods and services,

 meaning that as Choice’s revenue from transactional fees increases as the cost of goods and

 services increases.

         132. Choice therefore has an inherent conflict of interest that it never disclosed to

 Franchisees.

         133. Upon information and belief, Choice’s conflict of interest has led to abuse.

         134. Upon information and belief, Choice has chosen its interests and the interests of

 Qualified Vendors over those of its Franchisees.

         135. Upon information and belief, Choice has conspired with manufacturers and

 distributors to increase cost of goods and services that are sold to its Franchisees.

         136. Upon information and belief, Choice has colluded with manufacturers and/or

 distributors to fix the pricing of goods sold by manufacturers to Qualified Vendors.

         137. Upon information and belief, Choice colludes with manufacturers and/or

 distributors to increase the wholesale price of products, which in turn, increases the retail prices

 Qualified Vendors must sell to Franchisees.

         138. Upon information and belief, Choice effectively fixes the retail pricing of goods

 and services sold to Franchisees.




                                                -21-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 22 of 83




         139. Upon information and belief, Choice knows that Qualified Vendors cannot sell

 goods and services to its Franchisees at competitive prices.

         140. Upon information and belief, Choice knows that Qualified Vendors must increase

 the cost of goods and services to account for the increased wholesale costs and well as the fixed

 and transactional fees that must be paid to Choice.

         141. Upon information and belief, Choice knows that Qualified Vendors will pass

 these costs onto Franchisees.

         142. Upon information and belief, Franchisees ultimately are the ones harmed by

 Choice’s price fixing and kickback scheme.

         143. One of many examples of Choice’s malfeasance can be seen by comparing the

 prices paid by Choice Franchisees for Jimmy Dean frozen sausage links with the price paid non-

 Choice franchisees for the same product.

         144. Choice Franchisees pay $34.50 for ten pounds of sausage links, while non-Choice

 Franchisees pay $22.37 for the same quantity of sausage links. Choice Franchisees thus pay

 more than 54% upcharge for sausage links—an upcharge that finances the substantial kickback

 paid to Choice.

         145. Another example of Choice’s malfeasance can be seen in its selection of Shift4

 Payment, LLC (“Shift4”) as the only Qualified Vendor for credit card gateway services.

         146. The selection of Shift4 did not relate to any group discount secured on behalf of

 the Franchisees, nor did it relate to the securing of adequate brand quality or supply for

 Franchisees.

         147. Because they are required to use Shift4, Franchisees pay above-market rates for

 credit card gateway services.



                                                -22-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 23 of 83




         148. Franchisees additionally incur damages due to the fact that Shift4 honors

 customer chargebacks at a rate significantly higher than other credit card gateway servicers,

 without adequately investigating to determine whether the chargebacks are fraudulent or

 otherwise improper.

         149. While Choice purports to give Franchisees the right to, at Choice’s discretion,

 purchase Necessary Products from vendors other than the Qualified Vendors, in practice Choice

 rarely, if ever, grants Franchisees permission to do so.

         150. Essentially, Choice offers it Franchisees no meaningful choice in vendors.

        iii. The Kickbacks are a Growing Profit Center for Choice

         151. In 2001, Choice’s revenue from payments from its Qualified Vendors—which it

 reported in its SEC 10-K form as “Procurement Revenue Partner Services”—totaled

 approximately $12,000,000.

         152. In 2013, Choice’s revenue from payments from its Qualified Vendors—which it

 reported in its SEC 10-K form as a “Procurement Revenue”—totaled approximately

 $20,700,000.

         153. In a period of twelve years, Choice’s revenue from the Qualified Vendors rose by

 an additional 72.5%.

         154. In 2019, Choice’s revenue from payment from its Qualified Vendors totaled

 approximately $61,400,000. Thus, in the six year period following Choice’s restriction on

 Qualified Vendors, Choice’s revenue increased by an additional 196%. In real terms, this

 represents over $40,000,000 in revenue.

         155. This revenue in form comes from Qualified Vendors as a purported marketing fee

 but in substance the revenue comes from the Franchisees.



                                                -23-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 24 of 83




         156. At the time the Franchisees entered into the Agreements, Choice misrepresented

 and/or concealed the nature of its relationship with Qualified Vendors, in order to lock them

 into the onerous Agreements and create excessive switching costs.

   C.         Choice’s Double Dipping and Imposition of Unconscionable Fees and Penalties

         157. Under the Agreements, the only fees expressly required of the Franchisees are a

 Royalty and System Fee.

         158. These fees are based on a fixed percentage of the Franchisees’ revenue.

         159. These fees constitute approximately 7-10% of Franchisees’ monthly revenue.

         160. The Agreements, however, also purport to give Choice the unfettered and

 unilateral right to impose additional fees, penalties, rules, and regulations.

         161. Choice arbitrarily exercises this purported right in bad-faith, in order to capture an

 ever-increasing share of the Franchisees’ revenue.

        162.     These fees, penalties, and regulations impose tremendous and unreasonable

burdens on Franchisees and frequently bear no relationship to improving or maintaining brand

quality or uniformity.

        163.     Moreover, the manner and degree to which Choice imposes these fees, penalties

and regulations is unreasonable and acts to defeat the essential purpose of the agreement for its

Franchisees.

        164.     Choice’s inclusion and bad-faith implementation of this purported right is

unconscionable. As a direct result of Choice’s bad-faith conduct and unconscionable conduct,

Franchisees end up paying, on average, in excess of 20% of their monthly revenue to Choice.

        i. Choice’s Duplicative Fees

         165.     Choice routinely charges Franchisees multiple fees for the same products or

 services, and/or additional fees for services that it is contractually obligated to perform.

                                                 -24-
24774197v.1
           Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 25 of 83




         166. Choice’s improper assessment of fees includes but is not limited to its reservation

 system.

         167. In the Agreements, Choice represents to Franchisees that they will have access to

 Choice’s reservation system through payment of a monthly “System Fee.”

         168. Choice represents that its relationship with online travel agencies (“OTAs”)

 constitutes part of its reservation system.

         169. Despite these representations, Choice charges Franchisees an additional fee—a

 so-called “Channel Management Fee”—for access to OTAs.

         170. This fee is on top of fees that Franchisees must pay OTAs directly.

         171. Additionally, Choice requires Franchisees to pay fees associated with its “Choice

 Hotels Enhanced Reservation Program” (“CHERP”) in order to access direct bookings through

 choicehotels.com. These fees are mandatory.

         172. In essence, Choice triple dips, requiring Franchisees to pay it three separate times

 for full access to its reservation system.

         173. Choice also at times diverts funds that it is contractually obligated to use for

 marketing expenses into its own pockets.

         174. Specifically, Choice falsely represents to Franchisees that it has obtained a

 discount from a Qualified Vendor for certain Necessary Products, and that the acquisition of

 this discount entitle it to compensation.

         175. Choice then “reimburses” itself through the marketing funds.

         176. In point of fact, Choice never acquires discounts from Qualified Vendors, and in

 fact receives kickbacks from Qualified Vendors for each transaction they enter into with

 Franchisees.



                                                -25-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 26 of 83




        ii. Failure to Provide Services for Fees Assessed

         177. Choice routinely charges Franchisees fees for which the Franchisees in fact

 receive no benefit.

         178. Choice also increases fees while at the same time decreasing the quality of

 services rendered.

         179. For example, Choice has increased the fees associated with its customer service

 program, while simultaneously off-shoring that program to the Philippines.

         180. The language barrier between Franchisees and Choice’s customer service staff has

 dramatically reduced the quality of Choice’s customer service.

         181. Additionally, Choice at times offers optional benefits, which Franchisees can

 access with the payment of additional fees.

         182. Choice routinely fails to provide any additional benefit in exchange for the

 payments of these fees.

         183. For example, the Marketing Cooperative Franchisees entered into an agreement

 with Choice in which they would receive marketing benefits in exchange for the payment of

 additional fees.

         184. The Marketing Cooperative Franchisees have in fact received no additional

 benefit from Choice.

        iii. The Imposition of Unreasonable Monetary Penalties

         185. In an additional attempt to gouge Franchisees for revenue, Choice either imposes

 arbitrary rules and regulations, or interprets its rules and regulations in an unreasonable and bad

 faith manner, in order to extract monetary penalties from Franchisees.




                                                -26-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 27 of 83




         186. For example, Choice imposes monetary penalties on Franchisees who fail to

 maintain a certain ratio of positive to negative reviews, which are recorded by the third-party

 company Medalia.

         187. The “Medalia” review process fails to accurately capture guest experience.

         188. The “Medalia” review process does not account for the fact that many negative

 reviews are due to Choice’s conduct, and not the conduct of Franchisees.

         189. By way of example, Choice’s reservation system regularly fails to work properly,

 causing distress to guests and to Franchisees. Because of the failures of this reservation system,

 Franchisees, through no fault of their own, have received negative reviews.

         190. Additionally, Choice, in cooperation with Medalia, arbitrarily discounts certain of

 Franchisees’ positive reviews, in order to shift the Franchisees’ ratio of positive reviews and

 charge a monetary penalty.

         191. Choice uses the imposition of arbitrary penalties to increase revenue.

         192. Choice also uses penalties to force Franchisees to accept concessions, and when

 these concessions are not accepted, Choice has retaliated by terminating relationships with

 Franchisees.

        D. Choice’s Unconscionable Inclusion of Exculpatory Clauses in the Agreement

         193. Choice includes provisions in its Agreements to deter Franchisees from

 challenging the Agreements generally and/or Choice’s enforcement of the Agreements

 specifically.

         194. Choice requires Franchisees to waive their rights to a trial by jury.

         195. Choice requires Franchisees to waive their rights to participate in a class action.

         196. Choice requires Franchisees to submit to binding arbitration.



                                                -27-
24774197v.1
            Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 28 of 83




           197. Choice requires Franchisees to conduct the arbitration in Choice’s Maryland

 headquarters, regardless of where their franchise is located.

           198. Choice requires Franchisees to waive the right to any pre-hearing discovery.

           199. Choice requires Franchisees to submit to Maryland choice of law clauses.

           200. However, Choice specifically notes in the Agreement that the Franchisees’

 submission to Maryland law does not establish that Maryland’s Franchise Law applies to the

 relationship Franchisees and Choice.

           201. Essentially, Choice seeks to exculpate itself from liability under any state

 franchising statute.

           202. Additionally, Choice requires Franchisees to run the risk of paying to Choice all

 of its attorneys’ fees, expert costs, witness costs, and arbitration costs, if Franchisees do not

 prevail in arbitration.

           203. The purpose and intent of this and the other provisions is to make it economically

 unviable for its much smaller Franchisees to pursue claims against Choice.

           204. These provisions, taken together with the Agreement as a whole, are

 unconscionable.

              E. Choice’s Racial Discrimination Against Indian-American and South Asian-
                                         American Franchisees

           205. In its relations with its franchises, Choice routinely discriminates in favor of white

 hoteliers and against Indian-American and South Asian-American hoteliers, by offering

 preferential treatment to the former and more strictly enforcing rules and regulations against the

 latter.




                                                  -28-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 29 of 83




         206. An example of Choice’s malfeasance can be seen in the aftermath of its 2016

 announcement that it would no longer allow franchises that operate out of two-story properties

 to continue to bear the Comfort Inn brand mark.

         207.   On information and belief, this regulation was enforced aggressively against

 franchises, including the Franchisees, owned by Indian-American and South Asian-American

 hoteliers in order to terminate their franchises.

         208. Simultaneously, on information and belief, this regulation was laxly enforced by

 franchisees owned by white hoteliers.

         209. Additionally, even after Choice’s purported disallowance of two-story buildings,

 Choice allowed certain white hoteliers to begin operating new Comfort Inn franchises using

 two-story structures.

         210. Choice thus discriminated against franchises due to their Indian-American or

 South Asian-American ownership.

         211. Additionally, Choice routinely circumvents, or attempts to strong-arm,

 Franchisees and other Indian-American and South-Asian American hoteliers into waiving

 negotiated regional exclusivity provisions in favor of franchises owned by white hoteliers.

         212. In offering key money to hoteliers to finance the building of new hotel

 construction, Choice disproportionately favors white hoteliers, generally offering Indian-

 American and South Asian hoteliers only fractional amounts, if any, of the key money offered

 to similarly situated white hoteliers.

         213. Choice, in effectively appointing regional directors to CHOC, appoints white

 hoteliers to approximately 60% of open positions, despite the fact that its franchisees are 75-

 85% Indian-American or South Asian-American.



                                                 -29-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 30 of 83




          214. Choice executives routinely make racially derogatory comments to and about

 their Indian-American and South Asian-American franchisees, including the Franchisees.

                     F. Choice’s Collusion with the Choice Hotels Owner Council

          215. Through the Agreement, Choice requires Franchisees to pay a monthly

 association fee to the Choice Hotels Owner Council (“CHOC”).

          216. Choice represents to Franchisees that CHOC makes good faith efforts to protect

 the interests of Franchisees.

          217. CHOC makes these same representations to Franchisees.

          218. In fact, CHOC’s board members are essentially handpicked by Choice, and

 receive luxury incentives—including but not limited to algorithmic preference in the

 reservations systems, the benefits of sales blitzes, access to luxurious corporate retreats, and

 limousine services—in exchange for their loyalty to Choice’s agenda.

          219. While CHOC’s board members are nominally elected by all franchise owners at

 Choice’s annual meeting, it is essentially impossible for dissenting voices to gain seats on the

 board.

          220. Choice controls the nominating process through the imposition of onerous and

 vague requirements for candidacy, which ensures that Choice can carefully select all candidates.

 The elections to the CHOC board are thus noncompetitive.

          221. The collusion between CHOC and Choice is a fraudulent attempt to give a veneer

 of legitimacy to Choice’s exploitative practices. Choice represents to Franchisees that they have

 the proverbial “voice at the table,” when in fact Choice knows that CHOC functions as

 essentially a rubberstamp congress.




                                                -30-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 31 of 83




                            G. Choice’s Obstruction of the Termination Process

         222.      Choice requires that Franchisees give notice of their intent to leave the franchise

 system during a narrow window of time approximately twelve months (or, in some cases,

 eighteen months) before the expiration of the franchise term. This is significantly more notice

 than the six months typically required in the industry.

         223. If a Franchisee misses this narrow notice window, they are unable to end their

 relationship without incurring the substantial liquidated damages described above.

         224. Even when a Franchisee properly gives notice, Choice schemes to prevent them

 from leaving in accordance with their contractual rights.

         225. Choice will send out inspectors to the franchise locations, whose mission is to

 determine that the franchise has violated one or another of the nebulous Rules and Regulation

 Choice unilaterally promulgates.

         226. Inspectors either identify or invent nominal violations of the Rules and

 Regulations, and Choice proceeds to asses substantial monetary penalties against Franchisees.

         227. In some instances, Choice uses these penalties and threats of default to improperly

 terminate the franchise agreement, and in other instances, it uses the penalties to keep

 franchisees from leaving the Choice system, due to the requirement that Franchisees pay all

 outstanding fees and penalties upon termination or expiration of the Agreements.

         228. Even if a Franchisee does not give notice, at times Choice will often preemptively

 audit them in order to assess penalties, making the future exercise of their termination rights

 more difficult.

         229. These audits are often arbitrary and result in invalid penalties.

         230. For example, after one audit, demanded back payments for allegedly unpaid room

 and booking fees.

                                                   -31-
24774197v.1
            Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 32 of 83




         231. These allegedly unpaid room and booking fees were not in fact owed to Choice,

 because they were based on an intentional misreading of the audited Franchisee’s books and

 records.

         232. The allegedly unpaid room and booking fees originate from guests who either

 cancelled their stay after booking, or were otherwise refunded. Essentially, Choice required this

 Franchisee to pay fees for non-paying rooms.

         233. In sum, the terms of the Franchise Agreements and Choice’s “Rules and

 Regulations” (which Choice routinely updates and uses an extension of the Franchise

 Agreements in order to expand the terms of the original agreement, including but not limited to

 through the imposition of additional fees not specifically disclosed at the time of contracting)

 are in combination so burdensome to Franchisees and so one-sided in favor of Choice that they

 must be regarded as unconscionable and unenforceable.

   FACTUAL ALLEGATIONS COMMON TO THE CHOICE-CHOC RICO COUNTS,
                          COUNTS I & II

                                   A.        Culpable Persons

         234. Choice and CHOC are both “persons” within the meaning of 18 U.S.C. § 1961(3)

 and 18 U.S.C. §1962(c) in that each is a corporation capable of holding a legal interest in

 property.

         235. At all relevant times, Choice and CHOC were persons that existed separately and

 distinctly from the Enterprise, described below.

         236. Specifically, Choice, beyond its participation in the illegitimate affairs of the

 Enterprise, engages in the lawful business of entering into franchise agreements with hotel

 owners, and marketing its brands to the general public.




                                                -32-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 33 of 83




         237. CHOC, beyond its participation in the illegitimate affairs of the Enterprise,

 engages in the lawful business of organizing meetings between franchisees.

                                         B.     Enterprise

         238. Choice and CHOC constitute an association-in-fact enterprise (the “Enterprise”)

 within the meaning of 18 U.S.C. 1961(4) and 1962(c).

         239. Choice and CHOC are a group of persons that are associated-in-fact for the

 common purpose of carrying on an ongoing unlawful enterprise.

         240. Specifically, the Enterprise has a common goal of (a) fraudulently

 misrepresenting to Franchisees that CHOC represents their interests, in order to induce them

 into entering into the Agreements, (b) acquiring fraudulent monthly association fees, and (c)

 furthering Choice’s scheme to economically exploit Franchisees.

         241. Choice and CHOC have an ongoing relationship with each other.

         242. Choice essentially handpicks CHOC’s officers, who are then nominally approved

 by franchise owners in non-competitive elections.

         243. On information and belief, Choice dictates to CHOC board members what

 proposed measures they will approve, and in exchange offers substantial kickbacks to those

 board members, including preferential treatment in CHOC’s reservation system.

                                   C.     Interstate Commerce

         244. The Enterprise is engaged in interstate commerce and uses instrumentalities of

 interstate commerce in its daily business activities.

         245. Additionally, the activities of the Enterprise affect interstate commerce, in that

 they (a) induce Franchisees to enter into interstate Franchise Agreements, (b) cause monies, in

 the form of the association fees, to be transmitted in interstate commerce, and (c) affect other



                                                -33-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 34 of 83




 fees, penalties, rules, and regulations imposed in interstate commerce upon Franchisees, and (d)

 cause Franchisees to pay elevated prices for Necessary Products to Qualified Vendors.

                             D.     Pattern of Racketeering Activity

          246. Defendants, in knowingly conducting the affairs of the Enterprise, each

 committed at least two predicate acts that are indictable under the provisions of the U.S. Code

 enumerated in 18 U.S.C. § 1961(1)(B) as more specifically alleged below. Defendants each

 committed at least two such acts or else aided and abetted such acts.

          247. The acts of racketeering were not isolated, but rather the acts of Defendants were

 related in that they had the same or similar purpose and result, participants, victims and method

 of commission. Further, the acts of racketeering by Defendants have been continuous.

          248. Defendants participated in the operation and management of the Enterprise by

 overseeing and coordinating the commission of multiple acts of racketeering as described

 below.

          249. Predicate Acts: Use of Mails and Wires to Defraud in violation of 18 U.S.C. §

 1341 and § 1343. Defendants committed acts constituting indictable offenses under 18 U.S.C.

 §§ 1431,1343 in that they devised or intended to devise a scheme or artifice to defraud

 Franchisees and to obtain money from Franchisees by means of false or fraudulent pretenses,

 representations or promises.

          250. For the purpose of executing their scheme or artifice, Defendants caused delivery

 of various documents and things by the U.S. mails or by private or commercial interstate

 carriers, or received such therefrom.

          251. Defendants also transmitted or caused to be transmitted by means of wire

 communications in interstate commerce various writings, signs, and signals.



                                               -34-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 35 of 83




         252. The acts of Defendants set forth above were done with knowledge that the use of

 the mails or wires would follow in the ordinary course of business, or that such use could have

 been foreseen, even if not actually intended.

         253. These acts were done intentionally and knowingly with the specific intent to

 advance Defendants’ scheme or artifice.

         254. Defendants carried out their scheme in different states and could not have done so

 unless they used the U.S. mails or private or commercial interstate carriers or interstate wires.

         255. In furtherance of their scheme alleged herein, Defendants Choice and CHOC

 communicated among themselves and with Franchisees in furtherance of the scheme to defraud

 Franchisees.

         256. These communications were typically transmitted by wire and/or through the

 United States mails or private or commercial carriers.

         257. Specifically, Choice used interstate wires and/or the U.S. mail or private or

 commercial carriers to transmit copies of the Agreements to Franchisees.

         258. These Agreements contained the false representation that CHOC represented the

 interest of Franchisees.

         259. At the time these representations were made, Defendants knew them to be false,

 intended for Franchisees to rely upon them in entering into the Agreements and transmitting a

 monthly association fee, had a duty to disclose the truth, and acted with the intent to defraud

 Franchisees.

         260. Franchisees believed these false statements and reasonably acted in reliance upon

 these beliefs, to their detriment.




                                                 -35-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 36 of 83




         261. Additionally, Defendants used interstate wires and/or the U.S. mail or private

 commercial carriers to transmit invoices to Franchisees for monthly association fees.

         262. Defendants’ failure to reveal that CHOC did not represent the interest of

 Franchisees was a material omission.

         263. Defendants knew these omissions were false, intended for Franchisees to rely

 upon them in transmitting a monthly association fee, had a duty to disclose the truth, and acted

 with the intent to defraud Franchisees.

         264. Franchisees believed that no facts inconsistent with these omissions existed and

 reasonably relied upon that belief, to their detriment.

                                           COUNT I
                                    RICO, U.S.C. § 1962(c)
                    (On behalf of all Plaintiffs, against Choice and CHOC)

         265. Plaintiffs incorporate by reference all the foregoing allegations as if set forth at

 length herein.

         266. As described above, Defendants agreed to and did conduct and participate in the

 conduct of the Enterprise’s affairs through a pattern of racketeering activity intended to

 intentionally defraud Franchisees.

         267. As set forth above, Choice and CHOC agreed and conspired to violate 18 U.S.C.

 § 1962(c).

         268. Specifically, Choice and CHOC conspired to fraudulently represent to

 Franchisees that CHOC was a good faith representative of their interests in order to induce them

 into entering the Agreements and acquire from them a monthly association fee.

         269. In fact, CHOC operates as a rubberstamp for Choice’s decisions, and CHOC’s

 board members receive substantial non-monetary kickbacks from Choice.



                                                -36-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 37 of 83




         270. Defendants have intentionally conspired and agreed to conduct and participate in

 the conduct of the affairs of the enterprise through a pattern of racketeering activity.

         271. The Defendants knew that their predicate acts were part of a pattern of

 racketeering activity and agreed to the commission of those acts to further the schemes

 described above.

         272. As a direct and proximate result of Defendants’ conspiracy, the overt acts taken in

 furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Franchisees have been

 injured in their business and property in that:

                  (a)     Franchisees were fraudulently induced to enter into the Agreements;

                  (b)     Franchisees were forced to pay a monthly association fee to CHOC,

despite receiving no benefit from that fee;

                  (c)     Franchisees lost any financial benefits and concessions that a franchise

association negotiating in good faith could have extracted from Choice.

         273. WHEREFORE, Franchisees are entitled to actual damages in an amount to be

 determined at trial, treble damages, and attorney’s fees.

                                               COUNT II
                                            RICO § 1962(d)
                        (On behalf of all Plaintiffs, against Choice and CHOC)

         274. Plaintiffs incorporate by reference all the foregoing allegations as if set forth at

 length herein.

         275.     As set forth above, Choice and CHOC agreed and conspired to violate 18 U.S.C.

 § 1962(c).

         276. Specifically, Choice and CHOC conspired to fraudulently represent to

 Franchisees that CHOC was a good faith representative of their interests in order to acquire

 from them a monthly association fee, when in fact CHOC operates as a rubberstamp for

                                                   -37-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 38 of 83




 Choice’s decisions, and CHOC’s board members receives monetary and non-monetary

 kickbacks from Choice.

         277. Defendants have intentionally conspired and agreed to conduct and participate in

 the conduct of the affairs of the enterprise through a pattern of racketeering activity. The

 Defendants knew that their predicate acts were part of a pattern of racketeering activity and

 agreed to the commission of those acts to further the schemes described above.

         278. As a direct and proximate result of Defendants’ conspiracy, the overt acts taken in

 furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Franchisees have been

 injured in their business and property in that:

                (a)      Franchisees were fraudulently induced to enter into the Agreement;

                (b)      Franchisees were forced to pay a monthly association fee to CHOC,

despite receiving no benefit from that fee;

                (c)      Franchisees lost any financial benefits and concessions that a franchise

association negotiating in good faith could have extracted from Choice.

         279. WHEREFORE, Franchisees are entitled to actual damages in an amount to be

 proven at trial, treble damages, and reasonable attorney’s fees.

  FACTUAL ALLEGATIONS COMMON TO THE CHOICE-QUALIFIED VENDORS
                         RICO COUNTS

                                   A.     Culpable Persons

         280. Choice is a “person” within the meaning of 18 U.S.C. § 1961(3) and 18 U.S.C.

 §1962(c) in that it is a corporation capable of holding a legal interest in property.

         281. Non-parties, the Qualified Vendors, are persons within the meaning of 18 U.S.C.

 § 1961(3) and 18 U.S.C. §1962(c), in that they are business entities capable of holding a legal

 interest in property.


                                                   -38-
24774197v.1
           Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 39 of 83




         282. At all relevant times, Choice and the Qualified Vendors were persons that exist

 separate and distinct from the Enterprise, described below.

         283. Specifically, Choice, beyond its participation in the illegitimate affairs of the

 Enterprise, engages in the lawful business of entering into franchise agreements with hotel

 owners.

         284. The Qualified Vendors, beyond their participation in the illegitimate affairs of the

 Enterprise, engage in the lawful business of providing various goods and services to hoteliers

 and other businesses.

                                            B.      Enterprise

         285. Choice and the Qualified Vendors constitute an association-in-fact enterprise (the

 “Enterprise”) within the meaning of 18 U.S.C. 1961(4) and 1962(c).

         286. Choice and the Qualified Vendors are a group of persons that are associated-in-

 fact for the common purpose of carrying on an ongoing unlawful enterprise.

         287. Specifically, the Enterprise has a common goal of (a) fraudulently

 misrepresenting to Franchisees that Choice will only limit the number of Qualified Vendors for

 Necessary Products in order to secure a group discount or ensure adequate quality and supply to

 Choice’s franchisees, in order to induce them into entering into the Agreements, (b) securing

 profits for Choice through the payment by Qualified Vendors of a kickback to Choice for the

 privilege of selling Necessary Products to Franchisees, and (c) securing profits for Qualified

 Vendors through the charging of grossly above-market rates to Franchisees for Necessary

 Products.

         288. Choice and the Qualified Vendors have an ongoing contractual relationship with

 each other. Choice and the Qualified Vendors enter into contracts with each other, whereby



                                                 -39-
24774197v.1
           Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 40 of 83




 each Qualified Vendor gains the right to sell Necessary Products to Franchisees, in exchange for

 a kickback to Choice.

                                       C.     Interstate Commerce

          289. The Enterprise is engaged in interstate commerce and uses instrumentalities of

 interstate commerce in its daily business activities.

          290. The activities of the Enterprise affect interstate commerce, in that they (a) induce

 Franchisees to enter into interstate Franchise Agreements, (b) affect the prices of goods and

 services, which are sold in interstate commerce.

                                 D.     Pattern of Racketeering Activity

          291. Choice and the Qualified Vendors, in knowingly conducting the affairs of the

 Enterprise, each committed at least two predicate acts that are indictable under the provisions of

 the United States Code enumerated in 18 U.S.C. § 1961(1)(B) as more specifically alleged

 below.

          292. Choice and the Qualified Vendors each committed at least two such acts or else

 aided and abetted such acts.

          293. The acts of racketeering were not isolated, but rather the acts of Choice and the

 Qualified Vendors were related in that they had the same or similar purpose and result,

 participants, victims and method of commission.

          294. Further, the acts of racketeering by Choice and the Qualified Vendors have been

 continuous.

          295. Choice and he Qualified Vendors participated in the operation and management

 of the Enterprise by overseeing and coordinating the commission of multiple acts of

 racketeering as described below.



                                                -40-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 41 of 83




         296. Predicate Acts: Use of Mails and Wires to Defraud in violation of 18 U.S.C. §

 1341 and § 1343. Choice and the Qualified Vendors committed acts constituting indictable

 offenses under 18 U.S.C. §§ 1431,1343 in that they devised or intended to devise a scheme or

 artifice to defraud Franchisees and to obtain money from Franchisees by means of false or

 fraudulent pretenses, representations or promises.

         297. For the purpose of executing their scheme or artifice, Choice and the Qualified

 Vendors caused delivery of various documents and things by the U.S. mails or by private or

 commercial interstate carriers, or received such therefrom.

         298. Choice and the Qualified Vendors also transmitted or caused to be transmitted by

 means of wire communications in interstate commerce various writings, signs, and signals.

         299. The acts of Defendants set forth above were done with knowledge that the use of

 the mails or wires would follow in the ordinary course of business, or that such use could have

 been foreseen, even if not actually intended.

         300. These acts were done intentionally and knowingly with the specific intent to

 advance Defendants’ scheme or artifice.

         301. Defendants carried out their scheme in different states and could not have done so

 unless they used the U.S. mails or private or commercial interstate carriers or interstate wires.

         302. In furtherance of their scheme alleged herein, Defendants Choice and the

 Qualified Vendors communicated among themselves and with Franchisees in furtherance of the

 scheme to defraud Franchisees. These communications were typically transmitted by wire

 and/or through the United States mails or private or commercial carriers.

         303. Specifically, Choice used interstate wires and/or the U.S. mail or private or

 commercial carriers to transmit copies of the Agreements to Franchisees.



                                                 -41-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 42 of 83




         304. These Agreements contained the false representation that Choice, in limiting the

 number of Qualified Vendors for Necessary Products, acted only to secure a group discount

 and/or to ensure adequate quality and supply across the brand.

         305. At the time these representations were made, Choice knew them to be false,

 intended for Franchisees to rely upon them in entering into the Agreements and agreeing to

 purchase Necessary Products only from Qualified Vendors, had a duty to disclose the truth, and

 acted with the intent to defraud Franchisees.

         306. Franchisees believed these false statements and reasonably acted in reliance upon

 these beliefs, to their detriment.

         307. Additionally, Choice and the Qualified Vendors used interstate wires and/or the

 U.S. mail or private commercial carriers to transmit invoices to Franchisees for the costs of

 Necessary Products.

         308. Choice and the Qualified Vendors’ failure to reveal that Choice had made no

 attempt to secure group discounts or ensure adequate quality or supply was a material omission.

         309. Choice and the Qualified Vendors knew these omissions were false, intended for

 Franchisees to rely upon them in transmitting a monthly association fee, had a duty to disclose

 the truth, and acted with the intent to defraud Franchisees.

         310. Franchisees believed that no facts inconsistent with these omissions existed and

 reasonably relied upon that belief, to their detriment.

                                           COUNT III
                                        RICO § 1962(c)
                           (On behalf of all Plaintiffs, against Choice)

         311. Plaintiffs incorporate by reference all the foregoing allegations as if set forth at

 length herein.



                                                 -42-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 43 of 83




         312. As described above, Defendants agreed to and did conduct and participate in the

 conduct of the Enterprise’s affairs through a pattern of racketeering activity intended to

 intentionally defraud Franchisees.

         313. As set forth above, Choice agreed and conspired to violate 18 U.S.C. § 1962(c).

         314. Specifically, Choice and the Qualified Vendors conspired to fraudulently

 represent to Franchisees that Choice limited the number of Qualified Vendors for Necessary

 Products only to secure a group discount or ensure adequate quality and supply, when in fact

 Choice was concerned only with gaining a substantial kickback from Qualified Vendors in

 exchange for extending to them the privilege of selling Necessary Products to Franchisees.

         315. Defendants have intentionally conspired and agreed to conduct and participate in

 the conduct of the affairs of the enterprise through a pattern of racketeering activity.

         316.   The Defendants knew that their predicate acts were part of a pattern of

 racketeering activity and agreed to the commission of those acts to further the schemes

 described above.

         317. As a direct and proximate result of Defendants’ conspiracy, the overt acts taken in

 furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Franchisees have been

 injured in their business and property in that:

                (a)    Franchisees were fraudulently induced to enter into the Agreements;

                (b)    Franchisees have been forced to pay above market prices for Necessary

Products from Qualified Vendors;

         318. WHEREFORE, Franchisees pray that this Court enter an order in their favor

 against Choice for entitled to actual damages in an amount to be determined at trial, treble

 damages, and attorney’s fees.



                                                   -43-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 44 of 83




                                           COUNT IV
                                        RICO § 1962(d)
                           (On behalf of all Plaintiffs, against Choice)

         319. Plaintiffs incorporate by reference all the foregoing allegations as if set forth at

 length herein.

         320. As set forth above, Choice agreed and conspired to violate 18 U.S.C. § 1962(c).

         321. Specifically, Choice and the Qualified Vendors conspired to fraudulently

 represent to Franchisees that Choice limited the number of Qualified Vendors for Necessary

 Products only to secure a group discount or ensure adequate quality and supply, when in fact

 Choice was concerned only with gaining a substantial kickback from Qualified Vendors in

 exchange for extending to them the privilege of selling Necessary Products to Franchisees.

         322. Defendants have intentionally conspired and agreed to conduct and participate in

 the conduct of the affairs of the enterprise through a pattern of racketeering activity.

         323. The Defendants knew that their predicate acts were part of a pattern of

 racketeering activity and agreed to the commission of those acts to further the schemes

 described above.

         324. As a direct and proximate result of Defendants’ conspiracy, the overt acts taken in

 furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Franchisees have been

 injured in their business and property in that:

                  (a)   Franchisees were fraudulently induced to enter into the Agreements;

                  (b)   Franchisees have been forced to pay above market prices for Necessary

Products from Qualified Vendors;

         325. WHEREFORE, Franchisees are entitled to actual damages in an amount to be

 proven at trial, treble damages, and reasonable attorney’s fees.



                                                   -44-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 45 of 83




                                         COUNT V
      Breach of Contract and the Implied Covenant of Good Faith and Fair Dealing
  (On behalf of all Plaintiffs, and Marketing Cooperative Franchisees specifically, against
                                           Choice)

         326. Plaintiffs incorporate by reference all of the foregoing allegations as if set forth at

 length herein.

         327. At all times relevant to this litigation, Defendant Choice was in individual

 contractual relationships with each Franchisee through the Franchise Agreements.

         328. Choice breached its obligations under the Agreement by, inter alia:

                  (a)   Limiting the number of Qualified Vendors of Essential Products not to

“obtain volume discounts and to promote consistent quality and adequate supplies for the brand,”

(Agreement § 6(t)), but rather to maximize the financial kickbacks received by Choice from the

Qualified Vendors;

                  (b)   Despite guaranteeing Franchisees’ access to its reservation system in

exchange for the payment of a “Systems Fee” (Id. §§ 4(b)(2), 19(h)), and representing to its

investors that its contracts with OTAs constitute part of its reservation system, charging

Franchisees a “Channel Management Fee” fee over and above the “Systems Fee” for access to

OTA reservations;

                  (c)   Despite guaranteeing Franchisees’ access to its reservation system in

exchange for the payment of a “Systems Fee” (Id.), charging Franchisees a “Choice Hotels

Enhanced Reservations Fee” to access booking through choicehotels.coms;

                  (d)   Diverting funds derived from Franchisees’ marketing fees into Choice’s

own pockets;

                  (e)   Failing to provide Franchisees access to regional managers, despite

charging Franchisees a fee for management;


                                                -45-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 46 of 83




               (f)     Failing to provide all services and perform all obligations guaranteed

under the Agreements;

         329. Due to Choice’s ongoing breach of the Agreements, Franchisees have suffered

 monetary damages.

         330. Additionally, beyond the written terms of the Agreement, Choice owes a duty of

 good faith and fair dealing to Franchisees in relation to its performance under the Franchise

 Agreement and any related agreements.

         331. In its performance of the Franchise Agreements, Choice routinely violates its duty

 of good faith and fair dealing with its Franchisees, by, inter alia:

               (a)     Instead of using the collective bargaining power of its Franchisees to

negotiate discounted rates on products necessary to the operation of the hotels from Qualified

Vendors, allowing—and effectively requiring—the Qualified Vendors to charge rates for

Necessary Products well in excess of the market rate, by requiring the Qualified Vendors to pay

large kickbacks (“rebates”) to Choice in order to earn the privilege of doing business with

Franchisees;

               (b)     In negotiations with Qualified Vendors, prioritizing the size of the

kickback a Qualified Vendor is willing to pay Choice over the securing of a group discount or

ensuring high quality of Necessary Products;

               (c)     Forcing Franchisees to use a specific credit card processor, Shift4

Payment, LLC, which honors customer chargebacks at a rate significantly higher than other

credit card processors, causing Franchisees to lose significant monies in the form of fraudulent

chargebacks;




                                                 -46-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 47 of 83




               (d)     Forcing Franchisees to purchase other Necessary Products from Qualified

Vendors, when the Necessary Products provided by certain Qualified Vendors are of low quality

and priced above a fair market rate;

               (e)     Failing to provide Choice area managers to address Franchisees’ concerns,

or providing ineffective area managers;

               (f)     Forcing Franchisees to pay an “association fee” to CHOC while actively

working to undermine the efficacy of CHOC as a representative of Franchisee’s interests;

               (g)     Charging Franchisees a “Channel Management Fee” for access to

reservations through Online Travel Agencies, over and above the disclosed “Systems Fee,”

which, under the terms of the Agreements, secured access to Choice’s reservations system;

               (h)     Despite guaranteeing Franchisees’ access to its reservation system in

exchange for the payment of a “Systems Fee” (Id.), charging Franchisees a “Choice Hotels

Enhanced Reservations Fee” to access booking through choicehotels.coms;

               (i)     Monetarily penalizing Franchisees for Choice’s own mismanagement—for

example, assessing penalties against Franchisees for guest’s negative reviews of their hospitality

experience, when those negative reviews stem from failures related to Choice’s reservation

system;

               (j)     Monetarily penalizing Franchisees for their ratio of positive to negative

guest reviews, while arbitrarily rejecting the validity of certain positive guest reviews;

               (k)     Imposing or increasing fees to Franchisees for services, while at the same

time decreasing the quality of those services—for example, increasing the amounts Franchisees

must pay for customer service, while simultaneously off-shoring customer service to the

Philippines, which has resulted in considerable difficulty for Franchisees due to the customer



                                                -47-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 48 of 83




service agents’ generally low English proficiency, or increasing a management fee while

simultaneously decreasing Franchisees’ access to regional managers;

                (l)     Refusing to negotiate in good faith with Franchisees in the wake of the

Covid-19 pandemic;

                (m)     Otherwise imposing onerous and unnecessary fees, penalties, and upon

Franchisees;

                (n)     Requiring Franchisees to pay up to 20% of their monthly revenue in fees

and penalties, despite having previously represented to Franchisees that the fees would be

approximately 7-10% of monthly revenue;

                (o)     Otherwise acting to profit at the expense of Franchisees’ financial health.

         332. Additionally, Marketing Cooperative Franchisees enter into side agreements with

 Choice, in which they agree that Choice will provide additional marketing and sales benefits in

 exchange for the payment by Marketing Cooperative Franchisees of additional fees. Choice

 never in fact provides any additional marketing or sales benefit to Marketing Cooperative

 Franchisees.

         333. Due to Choice’s ongoing breach of contract and the implied covenant of good

 faith and fair dealing, Franchisees and Marketing Cooperative Franchisees have suffered

 damages in an amount to be determined at trial.

         334. WHEREFORE, Franchisees and Marketing Cooperative Franchisees seek to

 enforce the Agreement and recover consequential and/or compensatory damages in an amount

 to be determined at trial, or alternatively, terminate the Agreement due to Choice’s material

 breaches and recover consequential and/or compensatory damages in an amount to be

 determined at trial.



                                                -48-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 49 of 83




                                          COUNT VI
                                      Common Law Fraud
      (On behalf of all Plaintiffs, and on behalf of Marketing Cooperative Franchisees
                                  specifically, against Choice)

         335. Plaintiffs incorporate by reference all the foregoing allegations as if set forth at

 length herein.

         336. As alleged above, Choice knowingly made false statements of fact to, and omitted

 or concealed true statements of fact from the Franchisees. Specifically, at the time each

 Franchisee entered into its individual Agreement with Choice, Choice and its representatives

 made the following false representations:

                  (a)   That CHOC, to whom Franchisees owed monthly association fees, would

represent and advance the mutual interests of Choice and the Franchisees, when Choice knew

that CHOC did not represent the interests of Franchisees;

                  (b)   That Choice would restrict the number of Qualified Vendors only to

secure a group discount or to ensure adequate quality and supplies to its franchises, when Choice

intended to restrict the number of Qualified Vendors for the primary purpose of securing

kickbacks from the Qualified Vendors.

         337. Additionally, Choice has made a false representation to Franchisees on each and

 every time occasion it billed Franchisees for an association fee, when in fact it was aware that

 CHOC did not represent the interests of Franchisees.

         338. Additionally, on occasions uniquely in Choice’s knowledge, on information and

 belief Choice falsely represented to Franchisees that it had obtained a discount on Franchisees’

 behalf from Qualified Vendors, and that it was thus entitled to withdraw monies from a

 marketing fund created by Franchisees, when in fact, Choice had obtained no discount, and in




                                                -49-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 50 of 83




 fact received a rebate from Qualified Vendors for the transaction, which resulted in Franchisees

 paying inflated prices for the Necessary Products.

         339. Additionally, Choice, in entering into marketing cooperative agreements with

 Marketing Cooperative Franchisees, represented that it would provide Marketing Cooperative

 Franchisees with an additional marketing and sales benefit in exchange for the payment of

 additional fees to Choice.

         340. In fact, Choice never intended to provide any additional marketing and sales

 benefit to Marketing Cooperative Franchisees, and in fact never provides any additional benefit.

         341. Additionally, Choice represented and represents to Franchisees that it will provide

 certain services, including access to its reservation system, in exchange for payment of the

 Systems Fee, but in fact charged them additional fees for access to those services.

         342. Choice’s statements and omissions were false, and Choice knew they were false

 at the time they were made.

         343. Choice owed a duty to each Franchisee and Marketing Cooperative Franchisee to

 disclose the truth of such omitted or concealed fact.

         344. Choice made the false statements, and engaged in the omissions and

 concealments, with the intent to defraud Franchisees and Marketing Cooperative Franchisees in

 order to induce them to rely on the statements and omissions.

         345. Each Franchisee and Marketing Cooperative Franchisee believed the false

 statements, or believed that no facts existed inconsistent with Defendant’s omissions and

 concealments, and reasonably acted in reliance upon those beliefs, to their detriment.

         346. At all times relevant, Choice acted with malice and/or with reckless disregard as

 to the rights of Franchisees and Marketing Cooperative Franchisees.



                                               -50-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 51 of 83




         347. As a result of their detrimental reliance on Choice’s fraudulent statements and

 omissions, Franchisees and Marketing Cooperative Franchisees have suffered monetary

 damages.

         348. WHEREFORE, Franchisees and Marketing Cooperative Franchisees seek to

 enforce the Agreement and recover consequential and/or compensatory damages in an amount

 to be determined at trial, or alternatively, terminate the agreement due to Choice’s fraud and

 recover consequential and/or compensatory damages in an amount to be determined at trial.

                                            COUNT VII
                                      Declaratory Judgment
                             (On behalf of all Plaintiffs, against Choice)

         349. Plaintiffs incorporate by reference all the foregoing allegations as if set forth at

 length herein.

         350. As a condition of receiving the benefits of operating a Choice franchise, Choice

 uses its vastly superior bargaining power to require all Franchisees to accept the grossly unequal

 terms of the Agreements, which, as to many key provisions, is essentially a “take it or leave it”

 contract of adhesion .

         351. The following provisions of the Franchise Agreement (hereafter “the

 Unconscionable Provisions”) together and/or individually are substantively unconscionable:

                  (a)     Choice’s open-ended right to impose additional monthly fees and

commissions on Franchisees not specifically disclosed at the time of contracting (Agreement §§

4(b)(2), 6(a));

                  (b)     Choice’s open-ended right to modify, at its sole discretion, the Rules and

Regulations with which Franchisees must comply, upon pain of potential termination or

suspension of franchising rights (Id. § 6(a));



                                                  -51-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 52 of 83




                (c)      A requirement that Franchisees join and pay monthly dues to CHOC,

where Choice know, from the time of contracting, that CHOC consistently fails to make any

substantive attempt to represent the interest of Franchisees (Id. § 6(n));

                (d)      A requirement that Franchisees purchase certain products necessary for

the operation of a hotel property (“Necessary Products”) from vendors chosen by Choice

(“Qualified Vendors”), from whom Choice can and does elicit kickbacks in the form of

“rebates,” which causes Franchisees to pay unnecessarily high, above-market prices for those

products (Id. § 6(t));

                (e)      Unequal termination clauses, which provides Choice a minimum of sixty

days to cure any default under the Agreement, or longer if the default is not reasonably capable

of being cured within that time frame (Agreement § 10(a)), but (i) provides Franchisees with a

maximum of ten days, extendible at Choice’s sole discretion, to cure any default related to the

non-payment of fees due under the Agreement (Id. § 10(b)(1)(a)), (ii) provides Franchisees with

a maximum of thirty days, extendible at Choice’s sole discretion, to cure other defaults (Id. §

10(b)(1)(b)), (iii) allows Choice to immediately terminate Franchisees under certain

circumstances, including if the Franchisee violates a vague “loss of goodwill” provision (Id. §§

10(b)(2)(b), (b)(l));

                (f)      A provision providing for liquidated damages against Franchisees in the

event of Franchisee’s early termination of the Agreement, or Choice’s termination of the

Agreement due not Franchisee’s alleged breach, but not providing for liquidated damages against

Choice under any circumstances (Id. § 10(d)(2);

                (g)      A provision requiring Franchisees to pay (i) all sums due to Choice

immediately upon termination or expiration of the Agreement, which, when coupled with



                                                 -52-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 53 of 83




Choice’s broad right to require additional, not specifically disclosed, monthly fees, serves to

prevent Franchisees from freely exiting the franchise system, and (ii) to pay Choice’s damages

and reasonable attorney’s fees related to termination, but not providing for payment of

Franchisee’s damages and reasonable attorney’s fees related to termination (Id. § 11(c));

                (h)      A requirement that Franchisees broadly indemnify Choice, its affiliates,

subsidiaries, officers, directors, agents, partners, and employees, and that Choice have exclusive

control over any litigation in which Franchisee act as indemnitor, including the terms of

settlement (Id. § 13);

                (i)      An unequal mandatory arbitration provision, which (i) allows Choice to

pursue certain claims arising out of the Agreement against Franchisees in a judicial forum, while

not allowing Franchisees, under any circumstances, to bring an action for relief in a judicial

forum against Choice for claims arising out of the Agreement; (ii) waives any right to pre-

hearing discovery in a manner that, while technically mutually, inures to Choice’s primary

benefit, (iii) requires the arbitration to physically occur in Choice’s Maryland headquarters,

regardless of the domicile of the Franchisee or the physical location of the Franchisee’s hotel

property or properties (Id. § 21);

                (j)      A choice of law provision that chooses the law of Maryland to govern all

claims, but while explicitly denying the right of Franchisees to rely upon the choice of Maryland

law to invoke the protections of Maryland’s Franchise Registration and Disclosure Law,

effectively putting non-Maryland franchisees outside of the protection of any state franchise

practices act (Id. § 21);

                (k)      A waiver of the right to bring a class or group action, which, while

technically mutually, effectively inures to Choice’s exclusive benefit (Id. § 22);



                                                 -53-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 54 of 83




                (l)    A waiver of the right to jury trial, which, while technically mutual,

effectively inures to Choice’s exclusive benefit (Id. § 23).

          352. The Franchise Agreements are procedurally unconscionable, because, at the

 inception of the Agreements, Choice used its vastly superior bargaining position to require

 Franchisees to accept the grossly unequal Unconscionable Terms outlined above.

          353. Specifically, as to the Unconscionable Terms, the Agreements are contracts of

 adhesion offered on a “take it or leave it” basis. The Unconscionable Terms are not subject to

 negotiation.

          354. Choice drafts the Agreements in their entirety.

          355. In the course of contracting, Choice and its representatives make

 misrepresentations upon which Franchisees reasonably rely, which at the time of contracting

 Choice and its representative knew to be materially false, including but not limited to:

                (a)    The representation that it will limit the number of Qualified Vendors for

Necessary Products solely for the purposes of securing group discounts and ensuring high

quality, when in fact the primary aim of its negotiations with Qualified Vendors is to secure as

large a kickback (“rebate”) to Choice as possible;

                (b)    The representation that the total fees Franchisees will be required to pay

about 9% to 10% of their monthly revenue to Choice, when in fact, through additional

undisclosed fees, Franchisees are required to pay as much as 20% of their monthly revenue to

Choice;

                (c)    The representation that CHOC will advance the mutual interests of Choice

and Franchisees;




                                                -54-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 55 of 83




                (d)    The representation that payment of a “System Fee” will secure

Franchisees access to Choice’s online reservation system, when Choice requires a “Channel

Management Fee” to secure access to reservations through Online Travel Agencies (“OTAs”),

despite the fact that Choice represents to its investors that the OTAs form part of its reservation

system;

                (e)    The representation that payment of a “System Fee” will secure

Franchisees access to Choice’s online reservation system, when Choice requires a “Choice

Hotels Enhanced Reservation Program fee” to secure access to reservations through

choicehotels.com.

          356. An actual, present, and justiciable controversy exists between Franchisees and

 Choice regarding the enforceability of the Unconscionable Provisions, because:

                (a)    Choice continues to require Franchisees to purchase certain products at

inflated rates from Qualified Vendors;

                (b)    Choice continues to require Franchisees to pay arbitrary fees and penalties

dues to its open-ended right to modify the Rules and Regulations with which Franchisees must

comply;

                (c)    Choice continues to impede Franchisees’ free exit from the Franchise

Agreement, by holding over Franchises’ heads (i) its right to liquidated damage for early

termination, and (ii) its right to unilaterally impose onerous and undisclosed fees and penalties

upon Franchisees, which they must pay in full in order to exit the franchise system upon the

expiration of the Agreements.




                                                -55-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 56 of 83




         357. Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. § 2201,

 Franchisees seeks declaratory judgment from this Court that the Unconscionable Provisions

 listed above are unconscionable, illusory, and/or unenforceable against Franchisees.

                                                  COUNT VIII
                                  Violation of the Sherman Act, 15 U.S.C. § 1,
                                  (On behalf of all Plaintiffs, against Choice)

         358. Plaintiffs incorporate by reference all of the foregoing allegations as if set forth at

  length herein.

         359. There exists markets for ownership interests in Hospitality Franchises, in which

  Choice maintains substantial market power.

         360. A separate market exists for the related goods and services associated with the

  operations of Hospitality Franchises, including but not limited to services, software, physical

  furnishings, financial services, and food products (the “Necessary Products”).

         361. Choice requires that Franchisees purchase some or all of the Necessary Products

  from vendors of its own choosing (the “Qualified Vendors”).

         362. In order to obtain Choice’s approval to sell Necessary Products to Franchisees,

  Choice requires Qualified Vendors to pay substantial kickbacks to Choice, which it refers to

  euphemistically as “rebates.”

         363. Although Choice represents to Franchisees that, in limiting the number of

  Qualified Vendors from which Franchisees may purchase Necessary Products, it seeks only to

  obtain group discounts for Franchises and/or ensure consistent quality and adequate supplies

  for the franchise brand, in reality Choice chooses Qualified Vendors exclusively or primarily

  based upon how large a kickback those Qualified Vendors are willing to pay Choice.




                                                -56-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 57 of 83




         364. In actuality, the Necessary Products purchased from Qualified Vendors are often

  of inferior quality, and sold at above-market prices, relative to similar products sold by other

  vendors.

         365. While Choice does purport to give Franchisees the right to, at Choice’s discretion,

  purchase Necessary Products from vendors other than the Qualified Vendors, in practice

  Choice rarely, if ever, grants Franchisees permission to do so.

         366. At the time they entered into the Agreements, Choice concealed the nature of its

  relationship with Qualified Vendor from Franchisees, in order to lock them into the onerous

  Agreements and create excessive switching costs.

         367. Choice also creates excessive switching costs through imposing onerous

  termination terms on Franchisees, such that upon termination or expiration of the Agreement,

  they may be liable to pay (1) liquidated damages and (2) all outstanding fees and penalties in

  full, which, by virtue of Choice’s right under the Agreements to unilaterally impose additional

  fees and penalties, may be sufficient to prevent Franchisees from exercising their termination

  rights, locking them into the franchise system.

         368. At all times relevant Choice had monopoly power, market power, and/or

  economic power in the relevant Hospitality Franchise market, sufficient to force Franchisees to

  purchase and accept Necessary Products from Qualified Vendors.

         369. By reason of the terms of the Agreements and the investments Franchisees have

  made in their franchises, coupled with the difficulties Franchisees face in leaving the franchise

  system, Choice has substantial power in the market for both Hospitality Franchises and the

  market for Necessary Products.




                                                -57-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 58 of 83




         370. Choice manipulated its economic power in the Hospitality Franchise market to to

  coerce Franchisees to purchase Necessary Goods solely from Qualified Vendors, through

  contractual provisions contained in the Agreements, as well as exploitation of pre-contractual

  information deficiencies and post-contractual switching costs. Through these and other means,

  Choice can and does coerce Franchisees to purchase nearly of the Necessary Products from

  Qualified Vendors.

         371. Through the exercise of Choice’s economic power as alleged herein, Choice has

  conditioned the purchase by Franchisees of their franchises and their continued existence as

  franchises upon the purchase of Necessary Products from Qualified Vendors.

         372. As a direct and proximate result of Choice’s anti-competitive tying activity,

  Franchisees have been injured by being forced to pay above-market rates for inferior Necessary

  Products.

         373. A substantial amount of interstate commerce in Necessary Products has been

  adversely affected by Choice’s actions. These actions impose an unreasonably negative effect

  on competition in the marketplace, because Choice’s policy of coercing and condition the

  purchase and operation of a franchise and on purchase by Franchisees of Necessary Goods

  from Qualified Vendors forecloses the ability of vendors unwilling to pay kickbacks to Choice

  from selling their Necessary Products to Franchisees, even though the quality of such

  Necessary Products is equal to if not better than the quality of what is supplied by Qualified

  Vendors.

         374. Choice’s tie of purchases of its franchises to purchase of Necessary Products from

  Qualified Vendors imposes an unreasonable restraint upon commerce and is therefore per se




                                               -58-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 59 of 83




  unlawful in violation of Section One of the Sherman Act, 15 U.S.C. § 1, and has caused

  damage to Franchisees.

         375. Alternatively, if Choice’s tying conduct is not per se unlawful, it is unlawful

  under the rule of reason, in that the anti-competitive consequences of Choice’s conduct

  outweigh any pro-competitive effects thereof. Not only does Choice’s conduct impose supra-

  competitive prices on Franchisees, it impedes the ability of other vendors to engage in

  competition with Qualified Vendors to provide high quality Necessary Products at lower costs.

  Moreover, consumers are injured in that they are forced to indirectly pay the kickbacks and

  excessive prices for products charged to franchises by Qualified Vendors. There is no pro-

  business or efficiency justification for the kickbacks and supra-competitive pricing, nor does

  any legitimate business purpose require these practices.

         376. WHEREFORE, Franchisees are entitled to damages in an amount to be proven at

  trial and then trebled pursuant to 15 U.S.C. § 15, permanent injunctive relief prohibiting

  Choice’s unlawful tying conduct, and reasonable attorney’s fees.

                                           COUNT IX
                                  Breach of Fiduciary Duty
                           (On behalf of all Plaintiffs, against CHOC)

         377. Plaintiffs incorporate by reference all of the foregoing allegations as if set forth at

 length herein.

         378. Franchisees are required to pay monthly membership dues to CHOC, and are

 members of CHOC.

         379. CHOC assumed a fiduciary duty to represent the interests of its member

 Franchisees in negotiations with Choice, because:

                  (a)   CHOC represents in its mission statement to the Franchisees that its

purposes are, inter alia, to “represent the Licensees of the Company through a unified voice,

                                                -59-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 60 of 83




protecting the greater interests of its members by providing ideas, advocacy programs, and

services,” and “[t]o assure that [Choice’s] plans and policies enhance the best interest of the

franchisees of the system.” Choice Hotels Owners Council, Missions and Objectives, available at

https://www.choiceowners.com/About-Uswe

                (b)    It accepts—and, in cooperation with Choice mandates—monthly fees

from Franchisees, in the amount of $50.00 per hotel property, with the implied and/or explicit

representation that these fees are in exchange for CHOC’s faithful representation of the interests

of the Franchisees.

         380. CHOC routinely violates its duty of loyalty to Franchisees, in that its board

 members accept preferential treatment and other benefits from Choice in exchange for their

 compliance with and approval of onerous measures proposed by Choice, including but not

 limited to the imposition of new or increased fees on Franchisees, the imposition of new

 requirements and penalties through modification of the Terms and Conditions, and the entry

 into new agreements with Qualified Vendors that inure exclusively to the benefit of Choice

 while imposing onerous costs on Franchisees.

         381. The kickbacks received by CHOC board members include, but are not limited to,

 algorithmic preferences in Choice’s reservation system, such that their franchised properties

 appear higher in guests’ hotel search results than the properties of other franchisees.

         382. The CHOC board is utterly unresponsive to Franchisee’s concerns with relation to

 franchising.

         383. Franchisees have suffered damages due to CHOC’s failure to loyally represent

 them in an amount to be determined at trial.

         384. CHOC’s actions and omissions were willful, outrageous, oppressive, and wanton.



                                                -60-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 61 of 83




         385. WHEREFORE, Franchisees are entitled to compensatory and punitive damages.

                                               COUNT X
                                     Violation of 42 U.S.C. § 1981
                        (On behalf of all Plaintiffs, against Choice and CHOC)

         386. Plaintiffs incorporate by reference all of the foregoing allegations as if set forth at

 length herein.

         387. Choice Hoteliers, the owners of Franchisees, are members of protected classes

 due to their racial background and national origin (namely, Indian-American or other South

 Asian-American).

         388. Franchisees have standing to sue based on Choice and CHOC’s discrimination

 against Choice Hoteliers, in that Franchisees have directly suffered damage due to the racial and

 national origin discrimination.

         389. Choice and CHOC have engaged in racial and national origin discrimination

 against Choice Hoteliers, causing harm to Franchisees, as evinced by, but not limited to, the

 following conduct:

                  (a)     Racially derogatory comments made by Choice executives in response to

complaints raised by Franchisees about Choice’s practices;

                  (b)     The stricter enforcement of Rules and Regulations against Franchisees

than against franchises owned by white hoteliers—for example, Choice at one point decided that

all Comfort Inn franchises that operated out of two-story buildings would have their franchise

terminated, a rule that, on information and belief, (i) was aggressively enforced against

franchises owned by Indian-Americans; (ii) was laxly enforced against franchises owned by

white hoteliers; and (iii) was waived to allow the admission of certain white hoteliers who owned

two-story buildings into the Comfort Inn franchise system;



                                                 -61-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 62 of 83




               (c)     The preferential advancement of key money to finance new hotel

construction by franchises owned by white hoteliers, while providing substantially less, if any,

key money to similarly situated Indian-American and South Asian-American who apply for it,

including certain Franchisees.

               (d)     The failure to honor regional exclusivity provisions negotiated by Indian-

American and South Asian-American franchisees, including certain Franchisees, in order to

allow the encroachment of franchises owned by white hoteliers upon Indian-American and South

Asian-American franchise territory;

               (e)     The endorsement and appointment of officers to CHOC in a

discriminatory manner, as evidenced by the fact that CHOC’s Regional Directors and Vice

Directors as a group are over 60% white, despite the fact that South Asian hoteliers represent 75-

85% of Choice’s franchisees;

               (f)     Other preferential treatment towards white hoteliers and discriminatory

treatment towards Franchisees.

         390. By the conduct described above, Defendants intentionally and willfully deprived

 the above-named Franchisees of the same rights enjoyed by white citizens to the creation,

 performance, enjoyment, and all benefits of their contractual relationships with Defendants.

         391. As a result of Defendants’ discriminatory behavior, Franchisees have suffered

 economic harm.

         392. In its discriminatory actions as alleged above, Defendants have acted with malice

 or reckless indifference to the rights of Franchisees.




                                                -62-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 63 of 83




         393. WHEREFORE, Franchisees are entitled to compensatory damages, punitive

 damages, permanent injunctive relief restraining Defendants from their discriminatory conduct,

 and to reasonable attorney’s fees.

                                              COUNT XI
                                               Accounting
                        (On behalf of all Plaintiffs, against Choice and CHOC)

         394. Plaintiffs incorporate by reference the foregoing allegations as if set forth at

 length herein.

         395. Choice owed Franchisees express contractual and common-law fiduciary duties of

 cart, information, and loyalty as a result of their franchisor-franchisee relationship under the

 Agreements.

         396. Defendant CHOC owed Franchisees express and common law fiduciary duties of

 care, obedience, information and loyalty as a result of its special position of trust and

 confidence, including as agent of Franchisees, to act in the best interests of Franchisees.

         397. Choices owes a duty to account for monies, including but not limited to:

                  (a)     An accounting of how it has spent monies taken from Franchisees that was

ear-marked for marketing;

                  (b)     An accounting of the rebates it has taken from Qualified Vendors;

                  (c)     An accounting of its use of all other fees and penalties imposed upon

Franchisees.

         398. CHOC owes a duty to account for monies, specifically its use of the monthly

 association fee provided by Franchisees.

         399. Upon information and belief, a request for such an accounting from either Choice

 or CHOC would be futile.



                                                  -63-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 64 of 83




         400. Franchisees are unable to determine the amounts due to them without an

 accounting and there is no adequate remedy at law without such an accounting, or such legal

 remedies would be difficult, inadequate, or incomplete.

         401. WHEREFORE, Franchisees are entitled of an accounting of all fees paid by them

 to CHOC and Choice, and all rebate payments made to Choice by Qualified Vendors.

                                          COUNT XII
                        Violations of New Jersey Franchise Practices Act
                      (On behalf of New Jersey Franchisees, against Choice)

         402. Plaintiffs repeat and reallege each of the following paragraphs of the Complaint as

 if set forth at length herein.

         403. New Jersey Franchisees are franchisees within the meaning of N.J.S.A. § 56:10-

 3(d).

         404. Choice is a franchisor within the meaning of N.J.S.A. § 56:10-3(c).

         405. New Jersey Franchisees are, by the terms of their Franchise Agreements, required

 to perform business within the State of New Jersey.

         406. Under the New Jersey Franchise Practices Act, N.J.S.A. § 56:10-7 et seq., a

 franchisor is prohibited from, inter alia:

                (a)     Requiring “a franchisee at time of entering into a franchise arrangement to

assent to a release, assignment, novation, waiver or estoppel, which would relieve any person

from liability imposed by this act.”

                (b)     Prohibiting “directly or indirectly the right of free association among

franchisees for any lawful purpose.”

                (c)     Imposing “unreasonable standards of performance upon a franchisee.”

         407. Choice has effectively required New Jersey Franchisees to waive their rights

 under the New Jersey Franchise Practices Act, through:

                                                -64-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 65 of 83




                (a)     Inserting into the Franchise Agreement a Maryland choice of law clause

(Agreement § 21);


                (b)     Inserting into the Franchise Agreement the following language:

“[N]othing herein shall be construed to establish independently your right to pursue claims under

Maryland’s Franchise Registration and Disclosure Law,” which, in combination with the

foregoing choice of law clause, effectively purports to put the Franchise Agreement beyond the

reach of any state’s franchise act (Id.);

                (c)     Requiring New Jersey Franchisees to submit to binding arbitration (Id.);

                (d)     Requiring New Jersey Franchisees to waive their right to participate in a

class action suit or jury trial (Id. §§ 22, 23).

         408. Choice has effectively prohibited the right of free association among Franchisees,

 by requiring them to pay fees to CHOC, which they actively seek to corrupt and render

 ineffective as a representative of Franchisees’ interests;

                (a)     Requiring New Jersey Franchisees to submit to binding arbitration (Id.);

                (b)     Requiring New Jersey Franchisees to waive their right to participate in a

class action suit or jury trial (Id. §§ 22, 23).

         409. Choice has effectively prohibited the right of free association among Franchisees,

 by requiring them to pay fees to CHOC, which they actively seek to corrupt and render

 ineffective as a representative of Franchisees’ interests.

         410. Choice has held New Jersey Franchisees to unreasonable standards of

 performance, by, inter alia:

                (a)     Requiring New Jersey Franchisees to pay above-market prices for

Necessary Products from Qualified Vendors;


                                                   -65-
24774197v.1
             Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 66 of 83




                 (b)   Requiring New Jersey Franchisees to purchase Necessary Products from

Qualified Vendors that are inferior in quality to similar products offered by their competitors;

                 (c)   Requiring New Jersey Franchisees to pay undisclosed fees and penalties to

Choice, such that the total fees and penalties paid by each individual Franchisee could approach,

equal, or even exceed 20% of monthly revenue;

                 (d)   Adding onerous rules to Choice’s Rules and Regulations;

                 (e)   Failing to provide Choice area managers to address New Jersey

Franchisees’ concerns, or providing ineffective area managers;

                 (f)   Forcing New Jersey Franchisees to pay an “association fee” to CHOC

while actively working to undermine the efficacy of CHOC as a representative of Franchisee’s

interests;

                 (g)   Charging New Jersey Franchisees a “Channel Management Fee” for

access to reservations through Online Travel Agencies, over and above the disclosed “Systems

Fee,” which, under the terms of the Agreements, secured access to Choice’s reservations system;

                 (h)   Monetarily penalizing New Jersey Franchisees for Choice’s own

mismanagement—for example, assessing penalties against Franchisees for guest’s negative

reviews of their hospitality experience, when those negative reviews stem from failures related to

Choice’s reservation system;

         411. As a direct and proximate result of Choice’s actions, Franchisees have suffered

 damages.

         412. WHEREFORE, Plaintiff requests that this Court enter judgment in Franchisees’

 favor against Choice as follows: for actual damages in an amount to be determined at trial,




                                               -66-
24774197v.1
           Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 67 of 83




 injunctive relief restraining Choice from continuing to perform acts in violation of the New

 Jersey Franchise Practices Act, and reasonable attorney’s fees.

                                            COUNT XII
                            Violations of New York State Franchise Act
                        (On behalf of New York Franchisees, against Choice)

           413. Plaintiffs repeat and reallege each of the following paragraphs of the Complaint as

 if set forth at length herein.

           414. New York Franchisees are franchisees within the meaning of N.Y. Gen. Bus. §

 681(4).

           415. Choice is a franchisor within the meaning of N.Y. Gen. Bus. § 681(5).

           416.   New York Franchisees are, by the terms of their Franchise Agreements, required

 to perform business within the State of New York.

           417. Under the New York Franchise Act, N.Y. Gen. Law. § 687, a franchisor is

 prohibited from, inter alia:

                  (a)    Making “any untrue statement of a material fact in any application, notice,

statement, prospectus or report filed with the department under this article, or willfully to omit to

state in any such application, notice, statement, prospectus or report any material fact which is

required to be stated therein, or to fail to notify the department of any material change as

required by this article.”

                  (b)    Employing “any device, scheme, or artifice to defraud.”

                  (c)    Making an “untrue statement of a material fact or omit to state a material

fact necessary in order to make the statements made, in the light of the circumstances under

which they were made, not misleading.”

                  (d)    Engaging in “any act, practice, or course of business which operates or

would operate as a fraud or deceit upon any person.”

                                                 -67-
24774197v.1
             Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 68 of 83




                  (e)     Requiring a franchisee “to assent to a release, assignment, novation,

waiver or estoppel which would relieve a person from any duty or liability imposed by this

article.”

            418. Additionally, the act voids any “condition, stipulation, or provision purporting to

 bind any person acquiring any franchise to waive compliance with any provision of this law, or

 rule promulgated hereunder.”

            419. Choice has effectively required New York Franchisees to waive their rights under

 the New York Franchises Act, through:

                  (a)     Inserting into the Franchise Agreement a Maryland choice of law clause

(Agreement § 21);


                  (b)     Inserting into the Franchise Agreement the following language:

“[N]othing herein shall be construed to establish independently your right to pursue claims under

Maryland’s Franchise Registration and Disclosure Law,” which, in combination with the

foregoing choice of law clause, effectively purports to put the Franchise Agreement beyond the

reach of any state’s franchise act (Id.);

                  (c)     Requiring New York Franchisees to submit to binding arbitration (Id.);

                  (d)     Requiring New York Franchisees to waive their right to participate in a

class action suit or jury trial (Id. §§ 22, 23).

            420. As alleged above, Choice acted fraudulently, intentionally made misstatements of

 material fact, and acted pursuant to a scheme to defraud New York franchisees by making the

 following false representations:




                                                   -68-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 69 of 83




               (a)    That CHOC, to whom New York Franchisees owed monthly association

fees, would represent and advance the mutual interests of Choice and the New York Franchisees,

when Choice knew that CHOC did not represent the interests of New York Franchisees;

               (b)    That Choice would restrict the number of Qualified Vendors only to

secure a group discount or to ensure adequate quality and supplies to its franchises, when Choice

intended to restrict the number of Qualified Vendors for the primary purpose of securing

kickbacks from the Qualified Vendors.

         421. Additionally, Choice has made a false representation to New York Franchisees on

 each and every time occasion it billed New York Franchisees for an association fee, when in

 fact it was aware that CHOC did not represent the interests of New York Franchisees.

         422. Additionally, on occasions uniquely in Choice’s knowledge, on information and

 belief Choice falsely represented to New York Franchisees that it had obtained a discount on

 New York Franchisees’ behalf from Qualified Vendors, and that it was thus entitled to

 withdraw monies from a marketing fund created by New York Franchisees, when in fact,

 Choice had obtained no discount, and in fact received a rebate from Qualified Vendors for the

 transaction, which resulted in Franchisees paying inflated prices for the Necessary Products.

         423. Additionally, Choice represents to New York Franchisees that it will provide

 certain services, including access to its reservation system, in exchange for payment of the

 Systems Fee, but in fact charged them additional fees for access to those services.

         424. Choice’s statements and omissions were false, and Choice knew they were false

 at the time they were made.

         425. Choice owed a duty to each New York Franchisee to disclose the truth of such

 omitted or concealed fact.



                                               -69-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 70 of 83




         426. Choice made the false statements, and engaged in the omissions and

 concealments, with the intent to defraud New York Franchisees in order to induce them to rely

 on the statements and omissions.

         427. Each New York Franchisee believed the false statements, or believed that no facts

 existed inconsistent with Defendant’s omissions and concealments, and reasonably acted in

 reliance upon those beliefs, to their detriment.

         428. At all times relevant, Choice acted with malice and/or with reckless disregard as

 to the rights of New York Franchisees.

         429. Choice’s actions were willful and material.

         430. As a direct and proximate result of Choice’s actions, Franchisees have suffered

 damages.

         431. WHEREFORE, Plaintiff requests that this Court enter judgment in Franchisees’

 favor against Choice as follows: for actual damages in an amount to be determined at trial, for

 rescission as provided by N.Y. GBS § 691(1), damages with interest at 6% per year from the

 date of purchase, and reasonable attorney’s fees and court costs.

                                          COUNT XIII
                           Violations of Florida State Franchise Act
                    (On behalf of Deerfield Hotel Two, LLC, against Choice)

         432. Plaintiffs repeat and reallege each of the following paragraphs of the Complaint as

 if set forth at length herein.

         433. Deerfield Hotel Two, LLC is a franchisee within the meaning of Fla. Stat. §

 817.416(2).

         434. Choice is a franchisor within the meaning of Fla. Stat. § 817.416(3).

         435.    Deerfield Hotel Two, LLC is, by the terms of their Franchise Agreements,

 required to perform business within the State of Florida.

                                                -70-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 71 of 83




         436. Under the Florida Franchise Act, N.Y. Gen. Law. . § 817.416(2), a franchisor is

 prohibited from, inter alia: intentionally misrepresenting, “by failure to disclose or otherwise,

 the known required total investment for such franchise or distributorship.”

         437. As alleged above, Choice acted fraudulently, intentionally failed to disclose the

 known required total investment required of Deerfield Hotel Two, LLC by making the

 following false representations:

               (a)     That CHOC, to whom Deerfield Hotel Two, LLC owed monthly

association fees, would represent and advance the mutual interests of Choice and the Deerfield

Hotel Two, when Choice knew that CHOC did not represent the interests of Deerfield Hotel Two

               (b)     That Choice would restrict the number of Qualified Vendors only to

secure a group discount or to ensure adequate quality and supplies to its franchises, when Choice

intended to restrict the number of Qualified Vendors for the primary purpose of securing

kickbacks from the Qualified Vendors.

         438. Additionally, Choice has made a false representation to Deerfield Hotel Two,

 LLC on each and every time occasion it billed Deerfield Hotel Two, LLC for an association fee,

 when in fact it was aware that CHOC did not represent the interests of New York Franchisees.

         439. Additionally, on occasions uniquely in Choice’s knowledge, on information and

 belief Choice falsely represented to Deerfield Hotel Two, LLC that it had obtained a discount

 on Deerfield Hotel Two, LLC’s behalf from Qualified Vendors, and that it was thus entitled to

 withdraw monies from a marketing fund created by Deerfield Hotel Two, LLC, when in fact,

 Choice had obtained no discount, and in fact received a rebate from Qualified Vendors for the

 transaction, which resulted in Deerfield Hotel Two, LLC paying inflated prices for the

 Necessary Products.



                                                -71-
24774197v.1
           Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 72 of 83




           440. Additionally, Choice represents to Deerfield Hotel Two, LLC that it will provide

 certain services, including access to its reservation system, in exchange for payment of the

 Systems Fee, but in fact charged them additional fees for access to those services.

           441. Choice’s statements and omissions were false, and Choice knew they were false

 at the time they were made.

           442. Choice owed a duty to each Deerfield Hotel Two, LLC to disclose the truth of

 such omitted or concealed fact.

           443. As a direct and proximate result of Choice’s actions, Deerfield Hotel Two, LLC

 has suffered damages.

           444. WHEREFORE, Plaintiff requests that this Court enter judgment in Deerfield

 Hotel Two, LLC favor against Choice as follows: for all monies invested into the Franchise, and

 for reasonable attorney’s fees and court costs.

                                     COUNT XIV
                       Violations of Maryland Franchisees Law
 (On behalf of Maryland Franchisees, and, in the alternative, Franchisees, against Choice)

           445. Plaintiffs repeat and reallege each of the following paragraphs of the Complaint as

 if set forth at length herein.

           446. This count is brought on behalf of Maryland Franchisees, and in the alternative on

 behalf of all Franchisees, in the event that this Court finds that all or some of their franchise

 agreements are governed by Maryland law.

           447. The Maryland Franchisees and the Franchisees are a franchisee within the

 meaning of Md. Bus. Reg. Code Ann. § 14-201(g).

           448. Choice is a franchisor within the meaning of Md. Bus. Reg. Code Ann. § 14-

 201(h).



                                                 -72-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 73 of 83




         449. Maryland Franchisees are, by the terms of their Franchise Agreements, required

 to perform business within the State of Maryland.

         450. All Franchisees are, by the terms of their Franchise Agreements, required to

 submit to a Maryland choice of law clause.

         451. Under the Maryland Franchise Law § 14-227, a franchisor is prohibited from,

 inter alia: offering to sell or selling a franchise “by means of an untrue statement of a material

 fact or any omission to state a material fact necessary in order to make the statements made, in

 light of the circumstances under which they are made, not misleading, if the person who buys or

 is granted a franchise does not know of the untruth or omission intentionally misrepresenting.”

         452. As alleged above, Choice acted fraudulently, and intentionally failed to disclose

 the known required total investment required of Maryland Franchisees and Franchisees making

 the following false representations:

               (a)     That CHOC, to whom Maryland Franchisees and Franchisees owed

monthly association fees, would represent and advance the mutual interests of Choice and the

Maryland Franchisees and Franchisees, when Choice knew that CHOC did not represent the

interests of Maryland Franchisees and Franchisees;

               (b)     That Choice would restrict the number of Qualified Vendors only to

secure a group discount or to ensure adequate quality and supplies to its franchises, when Choice

intended to restrict the number of Qualified Vendors for the primary purpose of securing

kickbacks from the Qualified Vendors.

         453. Additionally, Choice made a false representation to Maryland Franchisees and

 Franchisees on each and every time occasion it billed Maryland Franchisees and Franchisees for




                                                -73-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 74 of 83




 an association fee, when in fact it was aware that CHOC did not represent the interests of

 Maryland Franchisees or Franchisees.

         454. Additionally, on occasions uniquely in Choice’s knowledge, on information and

 belief Choice falsely represented to Maryland Franchisees and Franchisees that it had obtained a

 discount on Maryland Franchisees and Franchisee’s behalf from Qualified Vendors, and that it

 was thus entitled to withdraw monies from a marketing fund created by Maryland Franchisees

 and Franchisees, when in fact, Choice had obtained no discount, and in fact received a rebate

 from Qualified Vendors for the transaction, which resulted in Maryland Franchisees and

 Franchisees paying inflated prices for the Necessary Products.

         455. Additionally, Choice represents to Maryland Franchisees and Franchisees, LLC

 that it will provide certain services, including access to its reservation system, in exchange for

 payment of the Systems Fee, but in fact charged them additional fees for access to those

 services.

         456. Choice’s statements and omissions were false, and Choice knew they were false

 at the time they were made.

         457. Maryland Franchisees and Franchisees did not know these statements and

 omissions were false.

         458. Choice owed a duty to Maryland Franchisees and Franchisees to disclose the truth

 of such omitted or concealed fact.

         459. Choice’s false statements and omissions induced Maryland Franchisees and

 Franchisees to purchase Choice franchises.

         460. As a direct and proximate result of Choice’s actions, Maryland Franchisees and

 Franchisees have suffered damages.



                                                -74-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 75 of 83




         461. WHEREFORE, Plaintiff requests that this Court: enter judgment in Franchisees

 and Maryland Franchisees’ favor against Choice for damages in an amount to be determined at

 trial; to enter an order for restitution and to rescind their franchise agreements, and to enter an

 order for reasonable attorney’s fees and court costs.

                                          COUNT XV
                        Violations of Michigan Franchise Investment Law
                          (On behalf of Mahamati Inc. against Choice)

         462. Plaintiffs repeat and reallege each of the following paragraphs of the Complaint as

 if set forth at length herein.

         463. Choice is a franchisor within the meaning of Mich. Comp. Law § 445.1502(5).

         464. Mahamati Inc. is a franchisee within the meaning of Mich. Com. Law §

 445.1502(4).

         465. Mahamati Inc., by the terms of its Franchise Agreement, is required to perform

 business within the State of Michigan.

         466. Under the Michigan Franchise Investment Law, Mich. Com. Law § 445.1505, a

 franchisor is prohibited, in connection with any purchase or sale of a franchise, from inter alia:

                (a)     Employing “any device, scheme, or artifice to defraud”;

                (b)     Making “any untrue statement of a material fact or omit to state a material

fact necessary in order to make the statements made, in the light of the circumstances under

which they are made, not misleading”;

                (c)     Engaging “in any act, practice, or course of business which operates or

would operate as a fraud or deceit upon any person.”

         467. As alleged above, Choice acted fraudulently, and made untrue statements of

 material fact and omitted material facts that, in their absence, made statements misleading, by

 making to Mahamati Inc. the following false representations:

                                                 -75-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 76 of 83




                (a)    That CHOC, to whom Mahamati Inc. owed monthly association fees,

would represent and advance the mutual interests of Choice and Mahamati Inc, when Choice

knew that CHOC did not represent the interests of Mahamati Inc.;

                (b)    That Choice would restrict the number of Qualified Vendors only to

secure a group discount or to ensure adequate quality and supplies to its franchises, when Choice

intended to restrict the number of Qualified Vendors for the primary purpose of securing

kickbacks from the Qualified Vendors.

         468. Additionally, Choice has made a false representation to Mahamati Inc. on each

 and every time occasion it billed Mahamati Inc. and Franchisees for an association fee, when in

 fact it was aware that CHOC did not represent the interests of Maryland Franchisees or

 Franchisees.

         469. Additionally, on occasions uniquely in Choice’s knowledge, on information and

 belief Choice falsely represented to Mahamati Inc. that it had obtained a discount on Mahamati

 Inc.’s behalf from Qualified Vendors, and that it was thus entitled to withdraw monies from a

 marketing fund created by Mahamati Inc., when in fact, Choice had obtained no discount, and

 in fact received a rebate from Qualified Vendors for the transaction, which resulted in Maryland

 Franchisees and Franchisees paying inflated prices for the Necessary Products.

         470. Additionally, Choice represents to Mahamati Inc. that it will provide certain

 services, including access to its reservation system, in exchange for payment of the Systems

 Fee, but in fact charged them additional fees for access to those services.

         471. Choices representations and omissions were false, and Choice was aware of their

 falsity at the time they were made.




                                                -76-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 77 of 83




         472. Mahamati Inc. did not know these representations and omissions were false, and

 acted on reasonable reliance of them. .

         473. As a direct and proximate result of Choice’s actions, Mahamati Inc. has suffered

 damages.

         474. WHEREFORE, Plaintiff requests that this Court: enter judgment in Franchisees

 and Mahamati Inc.’s favor against Choice for damages in an amount to be determined at trial;

 12% annual interest upon damages; and for reasonable attorney’s fees and court costs.

                                          COUNT XVI
                            Violations of Minnesota Franchise Statute
                          (On behalf of DC Hotels LLC, against Choice)

         475. Plaintiffs repeat and reallege each of the following paragraphs of the Complaint as

 if set forth at length herein.

         476. Choice is a franchisor within the meaning of Minn. STAT § 80C.01(6).

         477. DC Hotels, LLC is a franchisee within the meaning of Minn. STAT § 80C.01(5).

         478. DC Hotels, LLC, by the terms of its Franchise Agreement, is required to perform

 business within the State of Minnesota.

         479. Under the Minnesota Franchise Statute, Minn. STAT § 80C.13, a franchisor is

 prohibited, in connection with any purchase or sale of a franchise, from inter alia:

                (a)     Employing “any device, scheme, or artifice to defraud”;

                (b)     Making “any untrue statement of a material fact or omit to state a material

fact necessary in order to make the statements made, in the light of the circumstances under

which they are made, not misleading”;

                (c)     Engaging “in any act, practice, or course of business which operates or

would operate as a fraud or deceit upon any person.”



                                                -77-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 78 of 83




         480. As alleged above, Choice acted fraudulently, and made untrue statements of

 material fact and omitted material facts that, in their absence, made statements misleading, by

 making to DC Hotels, LLC. the following false representations:

               (a)     That CHOC, to whom DC Hotels, LLC. owed monthly association fees,

would represent and advance the mutual interests of Choice and DC Hotels, LLC, when Choice

knew that CHOC did not represent the interests of DC Hotels, LLC.;

               (b)     That Choice would restrict the number of Qualified Vendors only to

secure a group discount or to ensure adequate quality and supplies to its franchises, when Choice

intended to restrict the number of Qualified Vendors for the primary purpose of securing

kickbacks from the Qualified Vendors.

         481. Additionally, Choice has made a false representation to DC Hotels, LLC. on each

 and every time occasion it billed DC Hotels, LLC for an association fee, when in fact it was

 aware that CHOC did not represent the interests of DC Hotels, LLC.

         482. Additionally, on occasions uniquely in Choice’s knowledge, on information and

 belief Choice falsely represented to DC Hotels, LLC that it had obtained a discount on DC

 Hotel’s behalf from Qualified Vendors, and that it was thus entitled to withdraw monies from a

 marketing fund created by Mahamati Inc., when in fact, Choice had obtained no discount, and

 in fact received a rebate from Qualified Vendors for the transaction, which resulted in DC

 Hotels LLC paying inflated prices for the Necessary Products.

         483. Additionally, Choice represents to DC Hotels, LLC. that it will provide certain

 services, including access to its reservation system, in exchange for payment of the Systems

 Fee, but in fact charged them additional fees for access to those services.




                                                -78-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 79 of 83




          484. Choices representations and omissions were false, and Choice was aware of their

 falsity at the time they were made.

          485. DC Hotels, LLC did not know these representations and omissions were false,

 and acted on reasonable reliance of them. .

          486. As a direct and proximate result of Choice’s actions, DC Hotels LLC has suffered

 damages.

          487. WHEREFORE, Plaintiff requests that this Court: enter judgment in DC Hotels

 LLC’s favor against Choice for damages in an amount to be determined at trial and for

 reasonable attorney’s fees and court costs.

                                           COUNT XVII
                       Violations of North Dakota Franchise Investment Law
                      (On behalf of Highmark Lodging LLC, against Choice)

          488. Plaintiffs repeat and reallege each of the following paragraphs of the Complaint as

 if set forth at length herein.

          489. Choice is a franchisor within the meaning of N.D.C.C. § 51-19-02(8).

          490. Highmark Lodging LLC is a franchisee within the meaning of N.D.C.C. § 51-19-

 02(7).

          491. Highmark Lodging LLC, by the terms of its Franchise Agreement, is required to

 perform business within the State of North Dakota.

          492. Under the North Dakota Franchise Investment Law, N.D.C.C § 51-19-11, a

 franchisor is prohibited, in connection with any purchase or sale of a franchise, from inter alia:

                (a)     Employing “any device, scheme, or artifice to defraud”;

                (b)     Making “any untrue statement of a material fact or omit to state a material

fact necessary in order to make the statements made, in the light of the circumstances under

which they are made, not misleading”;

                                                -79-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 80 of 83




               (c)    Engaging “in any act, practice, or course of business which operates or

would operate as a fraud or deceit upon any person.”

         493. As alleged above, Choice acted fraudulently, and made untrue statements of

 material fact and omitted material facts that, in their absence, made statements misleading, by

 making to Highmark Lodging LLC the following false representations:

               (a)    That CHOC, to whom Highmark Lodging LLC owed monthly association

fees, would represent and advance the mutual interests of Choice and Highmark Lodging LLC,

when Choice knew that CHOC did not represent the interests of Highmark Lodging LLC;

               (b)    That Choice would restrict the number of Qualified Vendors only to

secure a group discount or to ensure adequate quality and supplies to its franchises, when Choice

intended to restrict the number of Qualified Vendors for the primary purpose of securing

kickbacks from the Qualified Vendors.

         494. Additionally, Choice has made a false representation to Highmark Lodging LLC

 on each and every time occasion it billed Highmark Lodging LLC for an association fee, when

 in fact it was aware that CHOC did not represent the interests of Highmark Lodging LLC.

         495. Additionally, on occasions uniquely in Choice’s knowledge, on information and

 belief Choice falsely represented to Highmark Lodging LLC that it had obtained a discount on

 Highmark Lodging LLC’s behalf from Qualified Vendors, and that it was thus entitled to

 withdraw monies from a marketing fund created by Highmark Lodging LLC., when in fact,

 Choice had obtained no discount, and in fact received a rebate from Qualified Vendors for the

 transaction, which resulted in Highmark Lodging LLC paying inflated prices for the Necessary

 Products.




                                               -80-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 81 of 83




         496. Additionally, Choice represents to Highmark Lodging LLC that it will provide

 certain services, including access to its reservation system, in exchange for payment of the

 Systems Fee, but in fact charged them additional fees for access to those services.

         497. Choices representations and omissions were false, and Choice was aware of their

 falsity at the time they were made.

         498. Highmark Lodging LLC did not know these representations and omissions were

 false, and acted on reasonable reliance of them. .

         499. As a direct and proximate result of Choice’s actions, Highmark Lodging LLC has

 suffered damages.

         500. WHEREFORE, Plaintiff requests that this Court: enter judgment in Franchisees

 and Highmark Lodging LLC’s favor against Choice for damages in an amount to be determined

 at trial; rescission of contract; and for reasonable attorney’s fees and court costs.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court:

              a) Enter an order against Choice and CHOC in favor of all Plaintiffs for actual
                 damages; treble damages; and reasonable attorney’s fees arising out of Choice
                 and CHOC’s violations of the RICO Act;

              b) Enter an order against Choice in favor of all Plaintiffs for actual damages; treble
                 damages; and reasonable attorney’s fees arising out of Choice’s individual
                 violations of the RICO Act;

              c) Enter an order against Choice in favor of all Plaintiffs, and also specifically the
                 Marketing Franchisees, (1) for consequential and/or compensatory damages, and
                 specific performance of the Agreements; or, in the alternative (2) for
                 consequential and/or compensatory damages, and termination of the Agreement;

              d) Enter an order against Choice in favor of all Plaintiffs for actual damages and
                 treble damages, and reasonable attorney’s fees arising out of Choice’s violations
                 of the Sherman Act;

              e) Enter an order against CHOC in favor of all Plaintiffs for compensatory damages
                 and punitive damages arising out of CHOC’s breach of fiduciary duty;

                                                  -81-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 82 of 83




              f) Enter an order against Choice and CHOC in favor of all Plaintiffs for
                 compensatory damages, punitive damages, and reasonable attorney’s fees arising
                 out of Choice and CHOC’s violations of the Civil Rights Act;

              g) Enter an order against Choice and in favor of New Jersey Franchisees for actual
                 damages and reasonable attorney’s fees arising out of Choice’s violation of New
                 Jersey statute;

              h) Enter a permanent injunction prohibiting Choice from continuing to perform acts
                 in violation of the New Jersey Franchise Practices Act;

              i) Enter an order against Choice and in favor of New York Franchisees for actual
                 damages, damages with interest at 6% per year from the date of purchase, and
                 reasonable attorney’s fees and court costs arising out of Choice’s violation of
                 New York statute;

              j) Enter an order against Choice in favor of judgment in Deerfield Hotel Two, LLC
                 for all monies invested into the franchise, and for reasonable attorney’s fees and
                 court costs arising out of Choice’s violation of Florida statute;

              k) Enter an order against Choice in favor of all Plaintiffs, and specifically Maryland
                 Franchisees, for damages, restitution, and reasonable attorney’s fees and court
                 courts, and in the alternative to rescind the Franchise Agreements, arising out of
                 Choice’s violation of Maryland statute;

              l) Enter an order against Choice in favor of Mahamati Inc. for damages and 12%
                 annual interest upon damages, and reasonable attorney’s fees and court costs,
                 arising out of Choice’s violation of Michigan statute;

              m) Enter an order against Choice in favor of DC Hotel LLC’s for damages,
                 reasonable attorney’s fees, and court costs, arising out of Choice’s violation of
                 Minnesota statute;

              n) Enter an order against Choice in Highmark Lodging LLC’s favor for damages,
                 reasonable attorney's fees, and court costs, arising out of Choice’s violation of
                 North Dakota statute;

              o) Declare that the Unconscionable Provisions of the Agreements, specified above,
                 are unconscionable illusory, and/or unenforceable against Plaintiffs;

              p) Enter an order against Choice and CHOC in favor of all Plaintiffs entitling
                 Plaintiffs to an accounting of all fees paid by them to CHOC and Choice, and all
                 rebate payments made to Choice by Qualified Vendors;

              q) Enter a permanent injunction prohibiting Choice’s unlawful tying conduct;

              r) Enter a permanent injunction prohibiting Choice and CHOC’s unlawful
                 discriminatory conduct.

                                                  -82-
24774197v.1
          Case 5:20-cv-02823-JFL Document 1 Filed 06/12/20 Page 83 of 83




                                         JURY DEMAND

        Plaintiffs demand a trial by jury on all issues properly so tried.

                                                           WHITE AND WILLIAMS LLP



                                                    BY: /s/ Justin E. Proper
                                                        Justin E. Proper
                                                        William H. Fedullo
                                                        1650 Market Street | One Liberty Place,
                                                        Suite 1800 |
                                                        Philadelphia, PA 19103-7395
                                                        Phone: 215.864.7165
                                                        Attorneys for Plaintiffs



Dated: June 12, 2020




                                                 -83-
24774197v.1
